 Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 1 of 91 PAGEID #: 2179




                            UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION


MELANIE BECKEMEYER,                            ][   CASENO. 1:17-cv-00695
                                               ][
               Plaintiff,                      ][   JUDGE BARRETT
                                               ][
       v.                                      ][
                                               ][   AFFIDAVIT OF RONALD E. GOTS,
GELCO CORPORATION, etc.,                       ][   M.D., PH.D., DABT
                                               ][
               Defendant.                      ][
                                               ][
                                               ][



       I, Ronald E. Gots, M.D., Ph.D., DABT, hereby swear, affmn and state as follows:

        1.     I am over 21 years of age and am competent to execute this affidavit.

       2.      I am a licensed physician and a Board Certified Toxicologist.

       3.       As a physician and toxicologist, I have specialized m occupational and

environmental medicine and toxicology for over thirty-five years. I have specialized primarily in the

determination of cause and effect relationships of injuries and illnesses allegedly arising from

chemical, biological (i.e., mold, bacteria and other agents) and other exposures. I have published

extensively on the subject of general and specific causation, having written a number of articles and

book chapters on this topic. The generally-recognized method of causation assessment in toxicology

has been the topic of lectures I have given to physicians, nurses, medical students, attorneys and

judges. At Georgetown University School of Medicine, I taught medical students a course on
 Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 2 of 91 PAGEID #: 2180



environmental toxicology in which causation methodology was emphasized. That course included a

section on mold, mold toxins and their health effects.

       4.      I have been involved in hundreds of mold contamination and wet, damp building

matters since the late 1980's, including courthouses, schools, other municipal buildings, assisted

living facilities, hotels, homes and commercial buildings. I have evaluated health effects, prepared

remediation plans, overseen remediation and functioned to ensure that workers or residents not be

harmed by any potential exposures. I have reviewed hundreds of scientific papers on mold, mold

toxins, bacterial endotoxins, as well as other agents associated with wet, damp buildings, and their

surmised, imputed and/or proven health effects and have written numerous articles on the subject. In

May 2002, my firm sponsored, along with Georgetown University Medical School, a major

international symposium devoted to the health effects of mold and mold toxins. My experience

consulting on indoor air quality issues affecting schools, office buildings, residences and even

automobiles is extensive.

       5.      In the past thirty years, as CEO of the International Center for Toxicology and

Medicine and founder of Building Health Sciences, my associates and I have been involved

extensively in indoor environmental matters. I have examined hundreds of patients, occupants of

residential and municipal buildings, as well as schools (both students and teachers) who believed

that mold in their facilities was making them ill. I have seen the breadth of complaints, some

minority of which may have been mold-related, most of which were not, but were perceived to be

so by involved individuals.

       6.      I have also visited dozens of buildings-schools, homes, apartment buildings,

assisted living facilities, hotels, courthouses, and other public and commercial buildings­

throughout the United States in which there was water damage, mold growth and concern about


                                                  2
  Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 3 of 91 PAGEID #: 2181



possible health effects. Some of these had exuberant mold growth covering many walls; others,

small spots to no observable mold growth. Thus, I have personally seen all of the extremes of water

damage and resultant growth of mold. In those investigations, it was often my responsibility to

assess health risks, make decisions about removing individuals from the environment and, with my

colleagues, to develop remediation plans.

        7.     Consequently, I have an extensive professional background in the science of health

effects from indoor environmental contaminants, the evaluation of individuals who have been in

such environments and the investigation of facilities which suffered varying degrees of water

intrusions. This, plus my past and ongoing review of thousands of primary research papers, position

papers and books dealing with the issues at hand inform my understanding of these matters and my

ability to analyze them.

        8.     I have reviewed thoroughly all of the available records and data in the matter of

Beckemeyer vs. Gelco.

        9.     The basis for my opinions in this case includes my education, training in basic

science, experience in toxicology in general and as specifically related to mold spore and mycotoxin

exposure, review and analysis of published peer reviewed and accepted literature on the effects of

mycotoxins on a broad range of mammalian species including humans, general knowledge of the

adverse effects of chemicals on mammalian species including humans, and records reviewed in this

case.

        10.    Mold and mold spores are ubiquitous and the construction and maintenance of a

mold-free environment, be it home or vehicle, is not possible.

        11.    Ms. Beckemeyer believes that exposure to mold and associated mycotoxins in a

company car which she drove from June through September 2016 produced a generalized medical


                                                 3
 Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 4 of 91 PAGEID #: 2182



disorder which has led to multiple multisystem symptoms. She is supported in this strange belief by

a pediatrician and self-described "mold" expert named Scott McMahon.

        12.    Ms. Beckemeyer has a variety of complaints, symptoms and diagnoses including

respiratory tract symptoms, lightheadedness, vertigo, "brain fog" memory loss, word finding

difficulties and anxiety. All of these she and Dr. McMahon ascribe to exposure to mold in the

automobile at issue. However, a careful review of the medical records shows clear alternate

explanations for these and temporal disconnections-e.g. they preexisted the acquisition of the car or

postdated the termination of its use. For example, a major complaint was vertigo (dizziness).

However, the first complaint of dizziness bearing any temporal relationship to the car was in

October, one month after she turned it in. There is absolutely no mechanism by which such a

delayed response could occur. Moreover, she had a long preexisting history of this condition with

major endolymph surgery (inner ear operation) for vertigo in 2004, predating the acquisition of the

car by 12 years. Many of her symptoms are those associated with anxiety- "brain fog" and sleep

disturbance for example. She had a prior and ongoing history of anxiety. She also had changes in

her brain seen on MRI which would explain word finding and other cognitive disorders. Those had

the appearance of chronic small vessel ischemia seen with ageing and hypertensive disease. She had

a long history of poorly-controlled hypertension. Also, molds and mold toxins are not known to

produce any brain abnormalities. Her respiratory tract problems during her car usage were

diagnosed as ordinary respiratory infections, such as viral sinusitis. Later she was diagnosed as

having allergic rhinitis, but she had had that for many years, long antedating the car. Moreover, she

was not allergic to any molds associated with the car. Finally, those symptoms persisted long after

she no longer had the car-a fact which eliminates an allergic response to the car and indicates

responses to other sources of allergens.


                                                 4
  Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 5 of 91 PAGEID #: 2183



        13.    When the car was tested for wetness and mold, no abnormality was found. There

was no source of mold growth and levels in the air and the carpet were low and typical of normal

background levels of mold. Every home and every car have levels like those.

        14.     Several of Ms. Beckemeyer's physicians seem to believe that mycotoxins or other

ill-defined "toxins" are responsible for her symptoms. There is no scientific support for this

conclusion. One of the claimant's experts, Dr. McMahon, believes that various ill-defined agents in

wet-damp indoor spaces produce some sort of toxicological effect which leads to an immunological

disorder. He shares that belief with a small cadre of fringe practitioners whose methodology and

self-described "disease" is not recognized or generally-accepted. They call this disorder chronic

inflammatory response syndrome (CIRS), a "disease" known only to them, not generally-accepted

and not recognized by the American Academy of Allergy Asthma and Immunology (AAAI), even

though Dr. McMahon and likeminded practitioners claim this is an "immunologic disorder." It has

no international disease (ICD-10) classification, the recognized nomenclature by which the US and

the rest of the world identify recognized diseases.      It is also not recognized by any body of

toxicologists even though the claim is that mycotoxins are the initiator of this alleged disorder.

Thus, Dr. McMahon's claim that toxins produce this immune system disease which they have

personally named CIRS is not accepted by any but their personal adherents. That such a disease

exists or that mycotoxins cause this is neither generally accepted by the relevant medical and

scientific communities nor is general medical and scientific knowledge. It is an unreliable diagnosis

with an inaccurately ascribed causal attribution.

        15.    An immutable principle of toxicology is that toxicity depends upon the dose of the

toxic agent which enters the body. Thus, botulinum toxin is lethal in rather small quantities if eaten

by people, but it is injected safely in millions (as Botox) to treat wrinkled skin. By diluting it a


                                                    5
 Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 6 of 91 PAGEID #: 2184



million-fold, Botox is converted from highly toxic to quite safe. The same is true for mycotoxins.

The calculated doses required for both acute and chronic exposures to result in adverse health

effects in humans have been studied and written about in peer reviewed articles and are so high that

it is essentially impossible for exposure in a home, let alone a car, to ever lead to a toxic adverse

human health effect. The American College of Occupational and Environmental Medicine (2002

and 2011), the National Academies of Sciences' Institute of Medicine (2004), the American

Academy of Asthma, Allergy and Immunology (2006) and the World Health Organization (2009)

all concur that the scientific and medical evidence does not support the contention that mycotoxin­

related disease (mycotoxicosis) occurs via inhalation of these agents in indoor environments. The

current         fact      sheet    of   the    us     CDC      concurs    with    that   assessment:

http://www.cdc.gov/mold/stachy.htm More specifically and pertinent to this case, none of these

recognized organizations find any support for the proposition that either mycotoxins or other agents

associated with damp indoor spaces, can produce either the range of symptoms alleged here or the

"disease" "CIRS" made up by Dr. Ritchie Shoemaker of Maryland and adopted by his protege ,

Dr. McMahon.

          16.          Assuming that the general causation requirements can be met, which is not the

case in the Beckemeyer matter, specific causal elements would need to be evaluated and ruled in

or out. The causation methodology used to establish specific causation, that is, causation in an

individual, is widely-accepted in the literature (Gots 1986, Gots 1993, Hackney 1979, Evans

1976, Irey 1976, Schwartz 1995, Tarcher 1992, Marley 1991, Buffler 1995, Rom 1992, Black

1990, Black 1993, Sullivan 1992, NRC 1992, Brennan 1987, Guezalian 2005, Weiner et al,

2012). Other accepted methodologies differ in detail, but not in basic principle. The elements of

the causation methodology used to establish specific causation include the following:


                                                      6
  Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 7 of 91 PAGEID #: 2185



              •   How was the diagnosis made?

              •   Does the patient have a recognizable disease?

              •   Are we dealing with symptoms alone or with objective disorders?

              •   Have other causes been properly considered and ruled out? Has the exposure been

                  confirmed?

              •   Was the dosage sufficient considering the concentration and duration to produce

                  the condition(s)?

              •   Was the clinical pattern what one would expect from that causal agent?

              •   Were the temporal relationship and/or latency periods appropriate?

       All of these questions and their answers are highly individual and must be addressed

symptom (or disorder) by symptom (or disorder). Plaintiffs experts, and even some of her

treating physicians, have not addressed it in this way.

        17.       None of the specific causation requirements 1s met in this case, as the

detailed review above demonstrates. In fact, all of them are specifically refuted.

                  A.     How was the diagnosis made?              And Does the patient have a
                         recognizable disease?

       The primary diagnoses in this case made by standard practitioners were recognized

respiratory disorders-allergies and infections. Others were major anxiety disorders. The

subsequent diagnoses, and the subject of this claim, CIRS, is not a recognized disease, but the

creation of non-traditional practitioners and neither scientifically-known nor generally-accepted.

                  B.      Are we dealing with symptoms alone or with objective disorders?

              For some of Ms. Beckemeyer's symptom complaints, specific clinical findings are

apparent in the records. These exclusively involve the respiratory tract. She allegedly has certain



                                                  7
  Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 8 of 91 PAGEID #: 2186



laboratory abnormalities, according to several of her non-mainstream practitioners. Those will be

discussed later.

                C.      Have other causes been properly considered and ruled out? Has the
                        exposure been confirmed?

        There was no exposure to high levels of mold or mycotoxins in this car. All mold levels

were low and/or typical of everyday background levels. There was also no wetness established.

Thus, no exposure has been confirmed.

        Other causes of her symptoms and findings have been identified including allergies,

infections, major anxiety and depressive disorders. She is also clearly persistently anxious which

explains many of her symptoms.

               D.      Was the dosage sufficient considering the concentration and duration
                       to produce the condition(s)?

       As a board-certified toxicologist, I can unequivocally state that there were no

toxicological agents in this car capable of producing acute or chronic illnesses.

               E.      Was the clinical pattern what one would expect from that causal
                       agent?

        Ms. Beckemeyer's clinical pattern of symptoms, objective findings and response to

treatment supported the allergic and infectious conditions diagnosed by her standard

practitioners. This pattern is not consistent with the car having been the cause.

        That some mold-related or other unspecified "toxin" related to the car was causal of this

claimant's made-up "condition," CIRS, is completely unsupportable. This condition has no

specific clinical pattern, no objective findings or standard clinical testing; it has a variable array

of wide-ranging, subjective symptoms which can occur in virtually any organ system in a pattern

defined solely by the patient herself.

               F.      Were the temporal relationship and/or latency periods appropriate?

                                                  8
  Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 9 of 91 PAGEID #: 2187



              The timing of symptoms and the location of their occurrences also speaks clearly

against the car as responsible. While Ms. Beckemeyer later claimed that she was sick from the

moment she got the car, contemporaneous medical records do not support that. She had acute

infectious respiratory conditions for short periods during her three months with the car. She also

had allergic symptoms which were ascribed to non-car associated exposures. She later, after

disposing of the car, developed most of her symptoms which persisted and, in some instances,

intensified. Thus, there is a clear temporal disconnect between the car and her primary

complaints.

              Very importantly, she had longstanding prior sinus and respiratory disorders as well

as major anxiety disorders. Responsible for many of her symptoms, these long predated the

acquisition of the car.

              The bottom line of this causation analysis is that there is clear evidence against

specific causation. The car played no role, except a perceived one, in Ms. Beckemeyer' s illnesses

or symptoms.

        18.       The claimant's expert, Dr. McMahon, is relying upon several "evidentiary"

approaches to support his causal allegation. All are wrong and defy accepted medical and

toxicological reasoning and are therefore no reliable.

       A.        The first is the general causation belief which I have discussed above. That is, that

        mycotoxins or other factors coming from indoor environmental air are capable of leading

       to the manifestations alleged and the strange self-named, unrecognized diseases CIRS.

       That is untrue, has never been shown scientifically and is not generally-accepted. The US

        CDC in its current online report agrees (http://www.cdc.gov/mold/stachy), as do all of the

        other consensus groups mentioned above.


                                                   9
 Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 10 of 91 PAGEID #: 2188



       B.      The second is that the exposure and consequent dose of such toxins allegedly

       received by Ms. Beckemeyer of mycotoxins or anything else was sufficient to cause the

       complaints. To "establish" this, the supporting practitioner is relying on several lines of

       self-developed and self-serving "evidence." The first is the unproven and likely untrue

       assertion that "toxins" were present and in sufficient quantities to exert effects. The

       second, is that those toxins came from the air of the car interior.

       C.      The third is that the complained of disorders are consistent with toxicity

       associated with indoor environments.

       C.      Finally, the fourth is that various odd laboratory tests which he orders, supports

       his diagnosis and his causal attribution.

       19.    All of Dr. McMahon's "evidentiary" approaches as to causation are fallacious,

unreliable and misleading.

       20.    The presence of toxin-producing molds and of mycotoxins or any other ''toxic

substance" in the car at issue has not been shown. There were no measurements performed

during Plaintiffs period of use, and, the time period between Plaintiffs last reported use on

September 23, 2016 and the testing performed by Plaintiffs industrial hygienist on July 9, 2018,

the car had two subsequent owners. Furthermore, the total mold levels found in the car in July

2018 were not unusually high or indicative of significant water intrusion and active mold growth.

They were common everyday exposure levels. Even if the mold spores found were full of

mycotoxins, thousands of times more than the largest amount found would have to have entered

the body to produce toxicity. As recent studies have shown, airborne mold or mold toxins do not

contribute to internal levels of mold toxins. Those come from dietary sources (Follman et al,

2016, Jezak et al, 2016). Nor can it be presumed that those low levels found in 2018 were


                                                   10
 Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 11 of 91 PAGEID #: 2189



sufficiently high at one point in the past and then became low due the passage of time; such logic

is not accepted methodology for determining exposure levels.        In essence, the ability of a

substance to cause a toxic effect cannot be inferred in the absence of information on the dose or

to how much of the environmental agent an individual is exposed.

       21.     If Ms. Beckemeyer were exposed to a mycotoxin, as she and some of her experts

seem to believe, and even if they were to enter the body, they are rapidly eliminated. Any

mycotoxins theoretically entering her body arising from the car would have been essentially

gone by December 2016. However, everyone has levels of mycotoxins in their bodies, arising

from dietary sources.

       22.     Like all other foreign substances, such as medications and most other toxins,

mycotoxins are broken down and eliminated by the body. Mycotoxins are metabolized in the

liver and excreted by the kidney in short order. Numerous scientific studies have examined the

time that it takes for mycotoxins to be eliminated. In toxicology and pharmacology, this rate of

elimination is generally called "half-life." This is the time that is required for one half of the

absorbed dose to be eliminated. For the most part, the half-lives of studied mycotoxins occur in

minutes to a few hours. Thus, they do not persist for weeks, months or years after exposure cease

and, as a result, are not, capable of producing increasing or persistent symptoms or causing new

symptoms to arise.

       23.     Dr. McMahon and a couple of Ms. Beckemeyer's treating physicians are basically

followers of a Maryland physician, Ritchie Shoemaker, who popularized, among a fringe

medical group, the diagnoses and testing which they follow. The fact is that these individuals

belong to a small cadre of alternative practitioners who have promoted false notions about indoor




                                               11
 Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 12 of 91 PAGEID #: 2190



environments and all manners of adverse health consequences associated with them. Their

beliefs and practices are neither generally-accepted nor scientifically-known.

       24.     Dr. Shoemaker's practices came under fire by the Maryland Board of Medical

Examiners in 2013, when he was reprimanded and put on probation for failing to meet proper

standards ofcare. At that point, he discontinued his clinical practice. However, he now purports

to provide special certification to physicians who follow his diagnostic and therapeutic methods.

Dr. McMahon, an expert in this case, and a pediatrician by training, touts his mold certification

by Shoemaker as his primary credential in this arena. He adds to that the assertion that he has

treated thousands ofsuch patients, solidifying his self-proclaimed expertise and diminishing that

of anyone who does not have such clinical experience. Medical history tells us that even large

numbers of diagnostic and treatment experiences do not necessarily imply knowledge or

wisdom. No doubt the colonial physician who bled George Washington would also have

trumpeted his experience with thousands ofsuch treatments.

       25.     Since approximately 2008, Dr. Shoemaker has called his novel disorder Chronic

Inflammatory Response Syndrome (CIRS), a condition which is neither generally accepted nor

known to exist. Ms. Beckemeyer, and Dr. McMahon use that term or a variation ofit, SIRS. Dr.

Shoemaker and his followers further claim that this disorder results from exposure to a variety of

"biotoxins" associated with wet/damp indoor spaces. This theory is self-generated, unproven,

based on poor causation and scientific methodologies, and resides in questionable data. It is not

generally-accepted.

       26.    Dr. Shoemaker originally called the condition Sick Building Syndrome (SBS) and

Chronic Biotoxin-Associated Illness, before he renamed it "Chronic Inflammatory Response

Syndrome." Initially, he attributed this entity to a mycotoxin cause. In 2002, he consistently


                                                12
 Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 13 of 91 PAGEID #: 2191



attributed symptoms to "toxin-forming species of fungi" and their mycotoxins. In his book Mold

Warriors (2005), Dr. Shoemaker wrote similarly about the cause of illness in the cases he

discussed. He highlighted water damage and mold growth and that certain molds make toxins,

"our studies show repeatedly: mold makes people sick." (p. 332-333). He has subsequently

disavowed the role of mycotoxins, believing instead that, "exposure to mycotoxins 1s a

'relatively insignificant factor in the systemic inflammatory response these people get'." (See

Deposition testimony in Anderson et al vs. The Ritz Carlton Hotel Co. et al., DC Superior Court

Civil Div. CA No. 05ca (0001130). Now mycotoxins have returned as the alleged culprit as I

will note shortly.

        27.    Certain of the diagnostic tests performed on Ms. Beckemeyer, such as VCS,

MSH, TGF, and C4a, even the so-called HLA-genotype allegedly associated with environmental

exposure leading to symptoms and a dozen others are neither scientifically-known nor accepted

as showing what they are claimed to demonstrate. They are not described in the recognized and

accepted medical and scientific literature for this purpose. Many of these tests have little clinical

application at all, but are unique to certain specialized research laboratories, or to either specific

other disease states or to other illnesses.      These tests taken together are not delineated in

textbooks or published as part of evidence-based clinical guidelines used by the general medical

community. They are the sole province of this fringe medical group who call themselves

"environmental physicians," or, now, "certified mold physicians."

        28.    In assessing whether a physician or scientist used reliable scientific methodology

to reach his conclusions, it also is important to examine the known or potential rate of error of a

theory. For example, if a scientist placed various qualifications on his conclusions, then the

known rate of error is potentially very high. The rate of error cannot even be assessed for a


                                                 13
 Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 14 of 91 PAGEID #: 2192



theory that has not been tested. Dr. Shoemaker's and Dr. McMahon's theories remain in the

unreplicated, unreliable category. Their alleged scientific methodology in reaching their

conclusions about this "CIRS" condition have, therefore, not been confirmed by others or

accepted.

       29.     Another important factor in assessing the scientific reliability of a theory is

whether the theory has gained widespread acceptance among scientists in that field. General

acceptance indicates that other scientists agree that a theory is based upon reliable scientific

methodology, has been replicated and has scientific validity. If, over time, a scientist's opinion

has gained little or no support within the relevant field of science and/or medicine, it is

appropriate to question whether the opinion is supported by reliable scientific methodology. The

term CIRS as a disease entity has been used by Dr. Shoemaker since at least 2008. Dr. McMahon

says that the condition was first described in 1997 (McMahon 2017). Since it is, according to

them, a widespread immunological disorder (Dr. McMahon now claims 7% of people have

CIRS), one would think that if it were proven, by now it would be widely-accepted. It is not. It

is not recognized, for example, by the American Association of Allergy Asthma and

Immunology, the major organization of immunologists in this country. It also has no ICD-10

number, that is, no number in the International Classification of Diseases, version 10. Dr.

McMahon dismisses this, suggesting that such numbers are only for "insurance purposes."

Actually, the disease classification numbers are established by the World Health Organization to

provide uniform nomenclature for study purposes, so that physicians and scientists worldwide

are speaking about the same entity when they do studies. There is no ICD-10 number for CIRS.

There is no national or international acceptance of this disease.




                                                 14
 Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 15 of 91 PAGEID #: 2193



        30.    Dr. McMahon, an expert in this matter, claims proudly to be a disciple of Dr.

Ritchie Shoemaker. He diagnoses the Shoemaker disease, now named Chronic Inflammatory

Response Syndrome (CIRS), which he believes arises from indoor exposures and attacks every

organ in the body. He diagnoses this disease through a set of thirty or more disconnected

symptoms and a bizarre array of laboratory tests only performed in this combination by Dr.

Shoemaker's zealous followers. This disorder of Dr. Shoemaker's is trumpeted in papers that he

has written, most published in obscure, non-mainstream journals or conference proceedings. At

this point, approximately eight of his papers have been in the literature for at least ten or more

years yet his revolutionary revelation has never found its way into mainstream, peer-reviewed,

medical or scientific journals.

        31.    It has also never made it into any of the most authoritative consensus documents,

such as the World Health Organization (WHO) and the Institute of Medicine, National Academy

of Sciences (IOM/NAS) publications on wet damp indoor spaces.            Although many of Dr.

Shoemaker's papers were available by the time the WHO document was published, there are no

references within it to Shoemaker or to this "CIRS disease." Dr. McMahon cites extensively

from the WHO document and from another, the Government Accountability Office (GAO)

document of 2008, which he claims supports him and Dr. Shoemaker. However, neither

document mentions any of Dr. Shoemaker's "groundbreaking research," cites any of his papers,

or contains any discussion whatsoever of this disease "CIRS."          Dr. McMahon's notions,

methodologies and diagnosis are neither generally-accepted, nor scientific knowledge, nor

reliable.

        32.    Nowhere in the GAO report which Dr. McMahon cites does it say that we now

know of an inflammatory disease described by Dr. Ritchie Shoemaker known as "CIRS" or


                                               15
 Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 16 of 91 PAGEID #: 2194



"biotoxin illness" or "mold illness" or any other, which produces widespread injury because of a

chronically over-reactive innate immune system. In fact, that 61-page document which Dr.

McMahon relies upon extensively contains not one mention of CIRS, of him or of Dr.

Shoemaker

       33.     Dr. McMahon claims that this disease, so-called "CIRS," is an immunological

disorder. As noted earlier, it is not recognized by mainstream immunologists or the many

thousand members of the American Academy of Allergy Asthma and Immunology (AAAAI),

the official AMA recognized body of immunologists. Furthermore, one wonders why, if this

disorder is an immune system disease, Dr. McMahon doesn't refer Ms. Beckemeyer to an

immunologist. He, after all, is a pediatrician.

       34.     A key to Dr. McMahon's diagnosis of this CIRS is laboratory testing for a variety

of parameters which he claims, when taken together, establish the diagnosis. To optimize the so­

called "abnormals," he creates his own normal values which, in some instances, differ from those

of the laboratories. When Dr. Shoemaker was challenged years ago about his "normal" value for

MSH which differed from the laboratory's norm or reference range, he asserted that the low end

of their reference range was "skewed by all of his patients' abnormally low values.". Dr.

McMahon has done exactly the same thing in his Beckemeyer report. The fact is that both major

commercial laboratories, Quest and LabCorp have an MSH reference range [range of normal

values] that start at zero and, in the case of LabCorp, range from 0-40 and, in the case of Quest,

range from 0-100. LabCorp is the lab Dr. McMahon used. He insists that the norm should be

greater than 35; thus, he asserts, Ms. Beckemeyer was abnormal at 5. In other words, he made up

his own normal to fit his own case definition. According to both these laboratories, her MSH was

normal.


                                                  16
 Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 17 of 91 PAGEID #: 2195



       He did the same thing for the ADH determination which he says was abnormal at Ms

Beckemeyer's level of 1. The laboratory which performed the test, LabCorp, reports its normal

as 0-4.7. Dr. McMahon says the normal range is 1.3-8 making Ms. Beckemeyer abnormally low,

according to him, but normal according to the testing laboratory.

       Thus, at least two of these key tests that he relies upon were, according to him, abnormal.

His assertion is contradicted by the reference standards of the laboratory which performed those

tests and found them normal.

       35.     In order to avoid evaluation and criticism of his CIRS disorder by toxicologists,

Dr. McMahon claims, in his report, that it is not a toxicological disease, but an immunological

one. However, in a paper which he wrote in 2017 and references in this report, he says: "In all

patients (sic, CIRS patients) environmental exposures to biologically-produced toxins trigger

innate immune cytokine overproduction... " In other words, he says in this paper, as he and Dr.

Shoemaker have said many times, that their claimed "immune system disease" is the result of a

toxic exposure.

       36.    In an attempt to enhance the respectability and acceptance of his "disease"

"CIRS," Dr. McMahon claims that there exist 100,000 references on Systemic Inflammatory

Response Syndrome. That disorder (SIRS) is indeed coded in the ICD-9 and ICD-10, as he notes.

However, SIRS has nothing to do with his CIRS. SIRS is a code reserved for severe multiorgan­

system disease and is used predominantly in patients in ICUs or trauma centers.

       37.     Dr. McMahon quotes the "Policyholders of America's Research Committee

Report on Diagnosis and Treatment of Chronic Inflammatory Response Syndrome caused by

exposure to the interior environment of water-damaged buildings (2010)," as the most

comprehensive paper on biotoxin-related illness to date. He claims that it shows that the world's


                                               17
       Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 18 of 91 PAGEID #: 2196



     academic community recognizes this disease. It does nothing of the kind. It is a manifesto

     written by Drs. McMahon and Shoemaker, espousing the same positions promulgated in his

     report regarding Ms. Beckemeyer. The site "Policyholders of America" is devoted to "mold

     sufferers" and their supportive physicians. There is nothing academic about it.

                 38.       For all of the above reasons, Dr. McMahon's opinion in this case is far outside the

     mainstream of medicine. It is not generally-accepted and is scientifically unreliable.

                 39.       Additional and more detailed opinions in this matter can be found in my complete

     report dated December 1, 2018, attached hereto and incorporated herein as Exhibit 1.

                 40.       My curriculum vitae is attached hereto as Exhibit 2.

                 41.       All of the foregoing opinions are held to a reasonable degree of scientific certainty.

     This and my report are based on the materials reviewed and analyzed by me to date. Should

     additional information become available, I reserve the right to amend my opinions accordingly.




                 FURTHER AFFIANT SAYETH N



                                                   RONALD E. GOTS, M.D., Ph.D., DABT



                 SUBSCRIBED AND SWORN TO before this, the                  i(     day of April, 2019.



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                  State of Florida-Notary Public
                   Commission # GG 270064
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                    My commission Expires
                        October 22, 2022




                                                   NOTARY PUBLIC

                                                            18
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 19 of 91 PAGEID #: 2197




                               INTERNATIONAL CENTER
                            FOR TOXICOLOGY AND MEDICINE

                                  CURRICULUM VITAE
                             Ronald E. Gots, MD, PhD, DABT
                               Board Certified in Toxicology
                         Toxicology and Environmental Medicine

                      International Center for Toxicology and Medicine
                                  93 SW Palm Cove Drive
                                 Palm City, FL 34990-4318
                                  E-mail: regots@ictm.com


Citizenship:              USA

EDUCATION:

  1961 - 1964             A.B. (Chemistry)
                          University of Pennsylvania
                          Philadelphia, Pennsylvania

  1964 - 1968             M.D.
                          University of Pennsylvania
                          School of Medicine
                          Philadelphia, Pennsylvania

  1968 - 1969             Internship (Surgery)
                          Johns Hopkins University Hospital
                          Baltimore, Maryland

  1969 - 1970             Fellow (General Surgery)
                          Harbor UCLA Medical Center
                          Torrance, California

  1970 - 1973             Ph.D. (Pharmacology)
                          University of Southern California
                          School of Medicine
                          Los Angeles, California




               93 SW Palm Cove Drive   Palm City, Florida 34990-4318   301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 20 of 91 PAGEID #: 2198




PROFESSIONAL EXPERIENCE:

  2002 - Present      Chief Executive Officer
                      International Center for Toxicology and Medicine

  2003 - 2009         Chief Scientist
                      Building Health Sciences, Inc.

  1997 - 2002         Principal
                      International Center for Toxicology and Medicine

  1975 - 2009         Medical Director and President
                      National Medical Advisory Service

  1995 - 9/96         Medical Director
                      Environmental Sensitivities Research Institute (ESRI)

  1984 - 1990         Chairman and Chief Executive Officer
                      Medical Claims Review Services

  3/78 - 6/82         Vice President
                      Emergency Medical Services, Inc.

  6/77 - 6/82         Vice President
                      Quality Care Management Consultants

  10/78 - 1981        Coordinator, Pharmaceutical Class Labeling Project, Food and
                      Drug Administration

  1/75 - 9/79         Medical Director and Examining Physician
                      Occupational Health Units, Bureau of Economic Analysis,
                      Census Bureau and Immigration and Naturalization Service,
                      Washington, D.C.

  7/75 - 12/75        Emergency and House Physician
                      Northern Virginia Doctor's Hospital

  5/75 - 10/75        Medical Officer, Occupational and Emergency Medicine, NASA

  1973 - 1975         Senior Investigator/Chief, Department of Gastroenterology,
                      Walter Reed Army Institute of Research, Washington, D.C.



                                                                                  Page 2

           93 SW Palm Cove Drive   Palm City, Florida 34990-4318   301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 21 of 91 PAGEID #: 2199




  6/73 - 8/73         Emergency Physician
                      Prince George's County Hospital

  1970 - 1973         Emergency Medicine Physician
                      Westminster Community Hospital
                      Orange County, California

MEDICAL LICENSURE:

  Maryland
  Michigan
  Pennsylvania
  Virginia

CERTIFICATIONS:

  1968                National Board of Medical Examiners

  1987                Board Certified-American Board of Quality Assurance and
                      Utilization Review Physicians
                           Re-certification- 1993, 1996, 1999, 2001, 2003, 2005, 2007,
                            2009

  1994 - Current      Fellow, American College of Forensic Examiners International

  1996 - Current      Diplomate, American Board of Forensic Examiners

  2010                Diplomate, American Board of Toxicology

  2015                Diplomate, American Board of Toxicology, Recertification

PROFESSIONAL SOCIETIES:

  Alpha Omega Alpha (Medical Honor Society)
  American Association for the Advancement of Sciences
  American Board of Forensic Examiners
  American Academy of Clinical Toxicology
  American Federation for Clinical Research
  American Medical Association
  American Medical Peer Review Association
  American Public Health Association
  American Society of Law and Medicine
  American Chemical Society
                                                                                  Page 3

           93 SW Palm Cove Drive   Palm City, Florida 34990-4318   301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 22 of 91 PAGEID #: 2200




  American Council on Science and Health
  Fellow, American College of Forensic Examiners
  American College of Occupational and Environmental Medicine
  Fellow, American College of Quality Assurance and Utilization Review Physicians
  International Society of Exposure Analysis
  International Society of Regulatory Toxicology and Pharmacology
  National Association of Environmental Professionals
  New York Academy of Sciences
  Sigma Xi (Scientific Honor Society)
  Society for Health and Human Values
  Society of Toxicology
  Society for Occupational & Environmental Health
  Society for Chemical Hazard Communication

TEACHING AND SPECIAL APPOINTMENTS

  University of Hawaii - Laboratory Instructor and Tutor, Microbial Genetics. 1964.

  Pasteur Institute - Research Fellowship. Paris, France. June 1965 - August 1965.

  University of Southern California School of Medicine, Department of Pharmacology -
  Instructor, Pharmacology. 1970-1973.

  World Health Organization        - Temporary Advisor, Workshop on Idiopathic
  Environmental Intolerances. Berlin, Germany. 1996.

  American Petroleum Institute - Participant, Workshop on Clinical Studies and
  Particulate Matter. April 31 through May 1997.

  Georgetown University School of Medicine - Lecturer (Environmental Toxicology).
  Department of Pharmacology, Division of Toxicology and Applied Pharmacokinetics.
  1996 - Present.

  Peer Reviewer. Journal of Medical Toxicology. 2004-Present

  Georgetown University School of Graduate Studies. Adjunct Professor (Regulatory
  Toxicology). 2011-Present

  University of Virginia School of Public Health – Lecturer, Department of
  Environmental Science. 2007




                                                                                      Page 4

           93 SW Palm Cove Drive   Palm City, Florida 34990-4318   301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 23 of 91 PAGEID #: 2201




CIVILIAN AWARDS AND HONORS:

  1956                Eagle Scout

  1967                Alpha Omega Alpha (Medical Honor Society)

  1972                Sigma Xi (Scientific Honor Society)

  7/71 - 7/73         Special Postdoctoral Training Fellowship, Funded by National
                      Institutes of Health

  1973                AMA Physician Achievement Award

MILITARY ASSIGNMENTS:

  7/73 - 7/74         Investigator, Department of Gastroenterology, Division of
                      Medicine
                      Walter Reed Army Institute of Research
                      Walter Reed Army Medical Center
                      Washington, D.C. 20012

  7/74 - 7/75         Chief, Department of Gastroenterology, Division of Medicine
                      Walter Reed Army Institute of Research
                      Walter Reed Medical Center
                      Washington, D.C. 20012
                      Honorable Discharge

SELECTED APPOINTMENTS:

  National Association of Manufacturers, Medical Consultant, Occupational Disease
    Compensation
  FDA Panelist, Patient Package Insert Hearings
  Medical Society of D.C., Member, Workers' Compensation Committee
  U. S. Chamber of Commerce, Member, Workers' Compensation Committee
    International Association of Industrial Accident Board Commissioners, Member,
    Medical Committee
  Board of Scientific and Policy Advisors, American Council on Science and Health
    Chairman, Scientific Advisory Board of NEDA/TIEQ (National Environmental
    Development Association/Total Indoor Environmental Quality)
  Montgomery Medicine, Associate Editor
  American Industrial Hygiene Association, Toxigenic Molds Workshop
                                                                                  Page 5

           93 SW Palm Cove Drive   Palm City, Florida 34990-4318   301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 24 of 91 PAGEID #: 2202




  Hippocrates’ Lantern, Contributing Editor
  U.S. Congressional Working Group Mold Legislation (2002)
  Atlantic Legal Foundation - Scientific Advisory Board
  Peer Review, Journal of Clinical Toxicology

SELECTED SPEAKING ENGAGEMENTS AND VISITING PROFESSORSHIPS:

  1975           Guest Faculty Member, American College of Physicians.

  1980           Invited Speaker, Bendectin Hearings. FDA.

  1978 - 1980    Developer and Presenter, Hospital Risk Management Seminars. St.
                 Paul Insurance Company.

  1980           Speaker, Annual Meeting.       American College of Obstetrics and
                 Gynecology.

  1982           Guest Faculty Speaker. American College of Physicians.

  1983           Speaker, Annual Meeting.      National Legal Center for the Public
                 Interest.

  2/85           Visiting Lecturer, Causation and Financial Compensation for Claims
                 of Personal Injury from Toxic Chemical Exposure. International
                 Conference, The Institute for Health Policy Analysis, Georgetown
                 University and the Georgetown School of Law.

  1985           Visiting Professor, Legal Medicine.     Uniformed University of the
                 Health Sciences.

  7/86           Moderator, Medical Section. National Symposium on Workers'
                 Compensation, 10th Annual Meeting, Orono, Maine

  8/86           Speaker, "Medical Causation Testimony: Misleading Fact Finders."
                 Workers' Compensation and Employer's Liability Committee,
                 American Bar Association, New York.

  1987           Speaker, Annual Meeting. IAIABC.

  1987           Speaker, Toxic Tort Seminar. American Bar Association, Chicago,
                 Illinois.



                                                                                 Page 6

          93 SW Palm Cove Drive   Palm City, Florida 34990-4318   301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 25 of 91 PAGEID #: 2203




  1987           Speaker, Forum Meeting.        University of Arkansas for Medical
                 Sciences.

  1987           Lecture. Delaware Occupational Medicine Association.

  5/88           Speaker, Toxic and Environmental Tort Litigation Committee.
                 American Bar Association, Natural Resource Section.

  6/88           Speaker, "Scientific and Legal Approaches to Proof of Causation in
                 Tort Cases." American Chemical Society, Chemistry and the Law
                 Division, Toronto, Canada.


  12/88          Speaker, "Medical Cost Containment: Regulatory and Administrative
                 Options for Containing Medical Costs.” Workers Compensation
                 Commissioners' Symposium, National Council on Compensation
                 Insurance.

  8/89           Visiting Professor, Environmental Law. Vermont Law School.

  11/89          Moderator, "Managed Medical Care."         Workers Compensation
                 Conference Dialogue for the Nineties. National Association of
                 Manufacturers and Alliance of American Insurers, Baltimore, MD.

  12/89          Speaker, "Validity of Various Immuno-Suppression Theories & Risk
                 Assessment Criteria in Toxic Tort Cases." Pennsylvania Bar Institute
                 Toxic Tort Litigation Seminar, Philadelphia, PA.

  12/89          Visiting Lecturer, "State of the Art in the Use of Demonstrative
                 Evidence in Proving Causation in a Toxic Tort Trial." Trying Mass
                 Toxic Tort Cases: Demonstrations of Trial Techniques by Leading
                 Practitioners and Jurists, American Bar Association National
                 Institute, San Francisco, CA.

  3/90           Speaker, "Utilization Review." Forum II Workers' Compensation
                 Healthcare Cost Containment. International Workers' Compensation
                 Foundation, Inc., New Orleans, LA.

  4/90           Speaker and Panelist, Workers’ Compensation Panel "Blueprint for
                 Reform." 1990 Issues Symposium and Annual Meeting. National
                 Council of Compensation Insurance, New York, NY.



                                                                                 Page 7

          93 SW Palm Cove Drive   Palm City, Florida 34990-4318   301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 26 of 91 PAGEID #: 2204




  5/90           Speaker, "Assessing Chemical Hazards: Separating Scientific
                 Toxicology from Regulatory Toxicology and Workers' Perceptions."
                 American Industrial Hygiene Conference, Orlando, FL.

  10/90          Speaker, "Chemical Hazards and Perceptions and the Role of the
                 Industrial Hygienist." Industrial Hygiene Conference. American
                 Industrial Hygiene Association, Ocean City, MD.

  11/90          Visiting Lecturer, "Causation: Scientific Standards of Proof." 1990
                 Toxic Torts for Trial Judges. The National Judicial College, Reno,
                 Nevada.

  1/91           Speaker, "Perception of Chemical Assessment." PESA Health and
                 Safety Conference.     Public Employees Safety Association of
                 Maryland, Baltimore, MD.

  1/91           Visiting Lecturer, "Toxins and Health: Science Versus Perception."
                 The Johns Hopkins University Applied Physics Laboratory
                 Colloquium. Johns Hopkins University, Laurel, MD.

  7/91           Speaker, "National Occupational Medicine Seminar."              Eleventh
                 Annual Conference. Cape Cod, Hyannis, MA.

  1/92           Speaker, "Dose Makes the Poison." Northern Virginia Association of
                 Occupational Health Nurses Inc., Vienna, VA.

  3/92           Speaker, "Dioxin, Risk Assessment for Human Health." Talladega
                 Medical Society, Talladega, AL.

  5/92           Speaker, Interdisciplinary Panel Participant, "The Physician's Role in
                 Indoor Air Complaints." National Coalition on Indoor Air Quality,
                 Tampa, FL.

  5/92           Speaker, "Determining Whether a Toxic Exposure Caused an
                 Illness." American College of Occupational and Environmental
                 Medicine. Post Graduate Seminar. Washington, D.C.

  11/92          Conference Chair. "Multiple Chemical Sensitivities. The State of
                 The Science." Co-sponsors - NMAS and the International Society of
                 Regulatory Toxicology and Pharmacology.

  3/93           Speaker, "Multiple Chemical Sensitivities.       The State of The
                 Science." RISE. Washington, D.C.
                                                                                    Page 8

          93 SW Palm Cove Drive   Palm City, Florida 34990-4318   301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 27 of 91 PAGEID #: 2205




  4/93           Presenter, Chemical Labeling. Executive Enterprises. Washington,
                 D.C.

  4/93           Lecturer, "Disability Assessment in Occupational Disease."
                 American College of Occupational and Environmental Medicine
                 Annual Meeting. Atlanta, GA.

  5/93           Speaker, "Multiple Chemical Sensitivities: The State of The Science."
                 CSMA Mid-year meeting. Chicago, IL.

  5/93           Speaker, "Multiple Chemical Sensitivities: The State of The Science."
                 CTFA. Washington, D.C.

  5/93           Speaker, "Risk Communication."     American Industrial Hygiene
                 Association. Annual Meeting. New Orleans, LA.

  2/94           Speaker, "Relating Physical Complaints to Indoor Air Pollution.”
                 Occupational Safety & Health Regulation. Conference. Washington,
                 D.C.

  3/94           Speaker, "Health Effects and IAQ: An Overview.”                 Indoor
                 Environment '94. Annual Meeting. Washington, D.C.

  6/94           Speaker, "The Policy of Risk Versus Individual Risk: Key to Effective
                 Risk Communication."      19th Annual Conference & Exposition.
                 National Association of Environmental Professionals. New Orleans,
                 Louisiana.

  9/94           Lecturer, "Risk Communication.” US Army Center for Health
                 Promotion and Preventive Medicine. Aberdeen Proving Ground,
                 Maryland.

  9/94           Speaker, "Public Versus Personal Risk:         The Challenge In
                 Environmental Risk Communication." Dixy Lee Ray Memorial
                 Symposium on Science-Based Environmental Management. Temple
                 University, Environmental Health and Safety. Seattle, Washington.

  9/94           Moderator, "Faculty and Audience Discussion Regarding MCS,” and
                 Speaker, "Conference Summary.”            First Annual Aspen
                 Environmental Medicine Conference. Aspen, Colorado.



                                                                                  Page 9

          93 SW Palm Cove Drive   Palm City, Florida 34990-4318   301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 28 of 91 PAGEID #: 2206




  10/94          Speaker, "Indoor Air and Health." 4th Annual Virginia Occupational
                 Health Conference. Virginia Occupational Medical Association.
                 Norfolk, Virginia.

  10/94          Lecturer, "Public Versus Personal Risk: The Challenge in
                 Environmental Risk Communication.”      Environmental Health
                 Program, Department of Public Health Sciences, University of
                 Alberta, University of Calgary, Canada.

  10/94          Speaker, "Low Level Chemical Exposures: What Do We Know?
                 What Can We Say?" American Industrial Hygiene Association.
                 Professional Development Conference. Annapolis, Maryland.

  3/95           Speaker, "Toxic Tort Litigation from Environmental Exposure." 1995
                 Oregon Governor's Occupational Safety & Health Conference,
                 Portland, Oregon.

  4/95           Speaker, "Cost Effective Management of Medical/Scientific Aspects
                 of Toxic Tort Claims." American Corporate Counsel Association
                 Greater New York Chapter. New York, New York.

  5/95           Speaker, "Perceptions: Addressing the Divergence Between Science
                 and Communication." USF&G - Industrial Hygienist, Kansas City,
                 Missouri.

  6/95           Speaker, "Effects of Lead Poison - What It Shows and Doesn't
                 Show." Chartered Property Casualty Underwriters Society,
                 Baltimore, Maryland.

  7/95           Speaker, "Multiple Chemical Sensitivities." "Sick Buildings."
                 National Workers' Compensation and Occupational Medicine
                 Seminar, Hyannis, Massachusetts.

  9/95           Lecturer, "Legislative and Regulatory Activity, Regarding Multiple
                 Chemical Sensitivities."     2nd Aspen Environmental Medicine
                 Conference, Given Institute. Aspen, Colorado.

  9/95           Visiting Lecturer, "Quantitative Risk Assessment and Tort Claims:
                 What the Attorney Must Know." Indiana Continuing Legal Education
                 Forum Seminar on Toxic Tort Litigation. Indianapolis, Indiana.




                                                                                 Page 10

          93 SW Palm Cove Drive   Palm City, Florida 34990-4318   301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 29 of 91 PAGEID #: 2207




  10/95          Speaker, "Environmentally Associated Symptoms (EAS): A New &
                 More Appropriate Name for MCS."             Chemical Specialties
                 Manufacturers Association, Annapolis, Maryland.

  10/95          Conference Chair. "Multiple Chemical Sensitivities: State-of-the-
                 Science Symposium." Co-sponsors - The International Society of
                 Regulatory Toxicology and Pharmacology, The Johns Hopkins
                 University/NIOSH Educational Resource Center in Occupational
                 Safety & Health and National Medical Advisory Service.

  11/95          Speaker, MCS: Facts and Fantasy."       52nd Annual Science
                 Conference. The Cosmetic, Toiletry, and Fragrance Association.
                 Lake Buena Vista, Florida.

  12/95          Lecturer, "Public Versus Personal Risk." Department of Design and
                 Environmental Analysis, Cornell University, Ithaca, New York.

  12/95          Speaker, "The Scientific Aspects and Application of Daubert Motions
                 in Toxic Tort Claims." The Metropolitan Corporate Counsel. New
                 York, New York.

  3/96           Speaker, “Public vs. Private Risks.” A&WMA’s Waste Combustion in
                 Boilers & Industrial Furnaces Conference, Kansas City, Missouri.

  6/96           Speaker, “Application of a New Assessment Tool to Environmental
                 Risk Communication: Merging Health Information with Psychosocial
                 Approaches.” National Association of Environmental Professionals,
                 Houston, Texas.

  7/96           Speaker, “Multiple Chemical Sensitivity: an Overview of Current
                 Scientific and Medical Knowledge.”        ASTM 1996 Johnson
                 Conference, Johnson, Vermont.

  8/96           Speaker,    “Chemical     Sensitivities/Environmental Intolerance:
                 Evaluation, Causation and The Impact of Causation Theories on
                 Treatment Strategies.” Allergy & Asthma Associates, Santa Fe, New
                 Mexico.

  9/96           State of the Art Speaker, “Illusions of Pseudoscience and Silicone
                 Breast Implants.” Aspen Environmental Medicine Conference,
                 Aspen, Colorado.



                                                                                 Page 11

          93 SW Palm Cove Drive   Palm City, Florida 34990-4318   301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 30 of 91 PAGEID #: 2208




  9/96           Speaker, “Multiple Chemical Sensitivities/Idiopathic Environmental
                 Intolerances.” AIHA Chesapeake Section, Annapolis, Maryland.

  9/96           Speaker, “Idiopathic Environmental Intolerances - Scientific
                 Understanding and Regulatory/Legislative Status.” The Soap and
                 Detergent Association, Chicago, IL.

  10/96          Speaker, “History, Medical Diagnoses and Causation Determination.”
                 Environmental Sensitivities Research Institute Educational Seminar
                 for Attorneys and Administrators, San Francisco, California.

  10/96          Speaker, “MCS-Real or Not?” Annual Association of Structural Pest
                 Control Regulatory Officials, Santa Fe, New Mexico.

  11/96          Speaker, “Proliferation of Health Allegations MCS, Allergies,
                 Porphyria.” The Carpet and Rug Institute Annual Conference,
                 Dalton, Georgia.

  1/97           Keynote Speaker, “Pesticide Health Risks: Scientific Truths & Public
                 Perception.” 1997 Delta Production Conference and AG Expo,
                 Cleveland, Mississippi.

  4/97           Speaker, “Controlled Exposure of Humans to Particulate Matter.”
                 1997 American Petroleum Institute Meeting, Alexandria, VA.

  5/97           Speaker, “Medical Issues” Lead Liability Litigation Seminar.      Law
                 Journal Seminars - Press. New York, NY.

  6/97           Panelist, “Dialogue” on “Recent Advances in Control of Air Pollution.”
                 WorldNet Television, Voice of America Studio Washington, D.C.

  10/97          Speaker, “Chemical Sensitivity.” Leadership Texas, Program of the
                 Foundation for Women’s Resources. Houston, TX.

  11/97          Speaker, “Multiple Chemical Sensitivity.” Montgomery County Public
                 Schools.

  3/98           Speaker, “Understanding Chemical Sensitivity in the Population.” NE
                 Regional Turfgrass Conference. Providence, Rhode Island.

  3/98           Panelist, “Do Mycotoxins Cause Health Effects in Indoor
                 Environments?” AIHA Toxigenic Molds Workshop. Fairfax, VA.


                                                                                 Page 12

          93 SW Palm Cove Drive   Palm City, Florida 34990-4318   301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 31 of 91 PAGEID #: 2209




  6/98           Speaker, “How To Cross Examine a Scientist.” DRI. San Antonio,
                 TX.

  9/98           Speaker, “New Injuries in the Workplace.” International Association
                 of Industrial Accident Boards and Commissions. St. Louis, MO.

  10/98          Speaker, “Mold Evaluation and Remediation - How Complex Should
                 it Be?” Association of Specialists in Cleaning and Restoration, Water
                 Loss Institute’s 3rd Annual Conference & Exposition. Charlotte, NC.

  11/98          Speaker, American College of Toxicology Annual Meeting. “Multiple
                 Chemical Sensitivities: Distinguishing Between Psychogenic and
                 Toxicodynamic.” Orlando, FL.

  2/99           Speaker, Mealey's Daubert and Expert Admissibility Conference.
                 “The Migration of Toxins to Surrounding Areas or People.”
                 Jacksonville, FL.

  9/99           Speaker, 3rd Annual Mid-Atlantic Regional Conference on
                 Occupational Medicine. “Multiple Chemical Sensitivity.” Philadelphia,
                 PA.

  9/99           Speaker, Annual Alumni Homecoming CME Seminar, Marshall
                 University. “Environmental Risk Communication: The Critical Role of
                 the Clinician.” Huntington, West Virginia.

  1/01           Speaker, 2nd National Sanitation Foundation (NSF) International
                 Conference on Indoor Air Health. “Indoor Air and Health: Emphasize
                 Health; Minimize Engineering.” Miami Beach, Florida.

  3/01           Speaker, 40th Annual Meeting of the Society for Toxicology. “Odors
                 in the Workplace: Minimizing Physical Illness; Not Satisfying
                 Everyone.” San Francisco, California.

  4/01           Speaker, St. Paul Insurance Group. “Indoor Air Quality: Learning
                 from the Unexpected.” Baltimore, Maryland.

  4/01           Speaker, International Society of Facilities Executives (ISFE).
                 “Investigating Health Complaints in the Workplace.” Kiawah Island,
                 South Carolina.

  10/01          Speaker, Property Loss Research Bureau (PLRB) Mold Symposium.
                 “The Science of Mold and Health.” Charlotte, NC.
                                                                                 Page 13

          93 SW Palm Cove Drive   Palm City, Florida 34990-4318   301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 32 of 91 PAGEID #: 2210




  4/02           Speaker, DRI Mold Seminar. “The Science of Mold and Health.”
                 Coronado, CA.

  5/02           Speaker, Property Loss Research Bureau (PLRB) Mold Symposium.
                 “The Science of Mold and Health.” San Antonio, TX.

  5/02           Speaker, American Forest and Paper Association (AFPA).            “The
                 Science of Mold and Health.” Washington, D.C.

  5/02           Speaker, American Agricultural Insurance Company (AAIH). “Health
                 Risks Associated with Mold Claims.” Denver, CO.

  6/02           Speaker, Mealey’s Toxic Tort Conference. “Medical and Science of
                 Causation Assessment.” Pasadena, CA.

  6/02           Speaker, Riverstone Resources.      “Mold and Health/Managing the
                 Process.” Manchester, NH.

  9/02           Speaker, Lorman Education Services Conference “Health-based
                 Mold Management.” Baltimore, MD.

  11/02          Speaker, Armstrong World Meeting. “The Mold Crisis and Its Effects
                 on Armstrong World Industries.” Lancaster, PA.

  12/02          Speaker, Mealey’s Texas Mold Litigation Conference. “Mold Science
                 Versus Mold Hype.” Dallas, TX.

  01/03          Speaker, Mold and Indoor Environment Conference.           “Mold
                 Medicine/Mold Hype.” New Jersey Institute of Technology. Newark,
                 NJ.

  02/03          Speaker, Mealey’s California Mold Litigation Conference. “Mold
                 Science Versus Mold Hype: Confusing Diagnosis with Causation in
                 Mold Matters.” La Jolla, CA.

  02/03          Speaker, Minnesota Association of Realtors. “Mold Medicine/Mold
                 Hype and Its Impact on Realtors.” St. Paul, MN.

  03/03          Speaker, American Conference Institute.          Fifth National Forum.
                 “Toxic Mold Litigation.” New York, NY.



                                                                                  Page 14

          93 SW Palm Cove Drive   Palm City, Florida 34990-4318    301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 33 of 91 PAGEID #: 2211




  05/03          Speaker, St. Louis Mold Conference. “Mold Medicine & Mold
                 Science: Its Practical Applications for Patient Care, Remediation &
                 Claims.” St. Louis, Missouri.

  05/03          Speaker, Peckar and Abranson and New York Construction News
                 Seminar.
                 “Mold, Fact Versus Fiction.” New York, N.Y.

  06/03          Speaker, “Mealey’s Mold Litigation Conference.”        Amelia Island,
                 Florida.

  09/03          Speaker, Advances in Environmental Mold Issues in West Virginia.”
                 Charleston, West Virginia.

  09/03          Speaker, Toxic Tort Litigation Conference. “Mealey’s Practical Skill
                 Series.” Philadelphia, PA.

  10/03          Speaker, Fall Meeting of ABA Seer. “Mold and Daubert Session.”
                 Washington, D.C.

  10/03          Speaker, 2003 Annual DRI Meeting. “Debunking the Myths of Mold
                 and the Application of Effective Defense Strategies.” Washington,
                 D.C.

  10/03          Speaker, Lorman Education Services. “Advances in Environmental
                 Mold Issues.” Lexington, KY.

  11/03          Speaker, AIHA/ASSE. Mold PDC. “A healthcare perspective on the
                 effects of mold.” Tyson’s Corner, VA.

  08/04          Speaker, ExecuSummit.    Second Annual Mold and Insurance
                 Industry ExecuSummit. “Medical Oversight in Water Incursion/Mold
                 Management.” New York, NY.

  11/04          Speaker, Twenty Fifth Annual Meeting of the American College of
                 Toxicology. “The Great Debate: Indoor Mold - Plague or Nuisance?”
                 Palm Springs, CA.

  05/05          Speaker, ACOEM’s American Occupational Health Conference
                 (AOHC).   “Occupational Medicine: From Clinic to Courtroom.”
                 Washington, D.C.



                                                                                 Page 15

          93 SW Palm Cove Drive   Palm City, Florida 34990-4318   301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 34 of 91 PAGEID #: 2212




     02/06          Speaker, Lorman Education Services.              “Indoor Air Quality.”
                    Telephone Conference.

     06/06          Speaker, Mealey’s Lead Litigation Conference. “The Medical Debate
                    over What Levels of Lead Exposure are Safe.” Boston, MA.

     10/06          Speaker, Thirteenth Annual National Forum of Environmental and
                    Toxic Tort Issues Conference. “Cost Effective, Provable Science in
                    Causation Assessment for Mass Toxic Torts.” Chicago, IL.

     04/07          Speaker, AALNC National Education Conference. “Causation
                    Assessment in Toxic Tort Litigation and the Critical Differences
                    between Differential Diagnosis and the Assessment of Cause.”
                    Austin, TX.

     08/07          Speaker, 10th Annual Force Health Protection Conference. “Public
                    Health Risk versus Personal Health Risk: The Key to Health Risk
                    Communications”
                    Louisville, KY.

     11/07          Speaker, SETAC North America 28th Annual Meeting. “Sound
                    Provable Science; The Key to Assessing Public versus Private
                    Health Risk and to Developing Helpful and Ethical Health Risk
                    Communication.”

     07/09          Speaker, ASTM, “Scientific and Medical Causation.” Burlington, VT
     03/10          Keynote   Speaker,     Environmental    Information     Association,
                    “Environmental Issues and Health Complaints.” Austin, TX

     04/10          Speaker, 2010 DRI Product Liability Conference. “A brief history of
                    tort claims arising from alleged indoor exposures: how the past
                    informs the future.” Las Vegas, NV

     10/11          Speaker, HB Conference. “Lead Toxicity.” Amelia Island, FL

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             93 SW Palm Cove Drive   Palm City, Florida 34990-4318    301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 35 of 91 PAGEID #: 2213




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          93 SW Palm Cove Drive   Palm City, Florida 34990-4318   301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 36 of 91 PAGEID #: 2214




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Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 37 of 91 PAGEID #: 2215




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Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 38 of 91 PAGEID #: 2216




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          93 SW Palm Cove Drive   Palm City, Florida 34990-4318    301-466-9858
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          93 SW Palm Cove Drive   Palm City, Florida 34990-4318   301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 40 of 91 PAGEID #: 2218




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          93 SW Palm Cove Drive   Palm City, Florida 34990-4318   301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 41 of 91 PAGEID #: 2219




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          93 SW Palm Cove Drive   Palm City, Florida 34990-4318   301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 42 of 91 PAGEID #: 2220




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          93 SW Palm Cove Drive    Palm City, Florida 34990-4318     301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 43 of 91 PAGEID #: 2221




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                                                                                 Page 25

          93 SW Palm Cove Drive   Palm City, Florida 34990-4318   301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 44 of 91 PAGEID #: 2222




                                   INTERNATIONAL CENTER

                               FOR TOXICOLOGY AND MEDICINE




EXPERT REPORT OF RONALD E. GOTS, MD, PhD, DABT

RE: Melanie Beckemeyer v Gelco Corporation d/b/a Element Fleet Management



INTRODUCTION

My name is Ronald E. Gots, MD, Ph.D., DABT. I am a licensed physician and Board
Certified Toxicologist. As a physician and toxicologist, I have specialized in occupational
and environmental medicine and toxicology for over thirty-five years. I have specialized
primarily in the determination of cause and effect relationships of injuries and illnesses
allegedly arising from chemical, biological (i.e., mold, bacteria and other agents) and
other exposures. I have published extensively on the subject of general and specific
causation, having written a number of articles and book chapters on this topic. The
generally-recognized method of causation assessment in toxicology has been the topic
of lectures I have given to physicians, nurses, medical students, attorneys and judges. At
Georgetown University School of Medicine, I taught medical students a course on
environmental toxicology in which causation methodology was emphasized. That course
included a section on mold, mold toxins and their health effects.



I have been involved in hundreds of mold contamination and wet, damp building matters
since the late 1980's, including courthouses, schools, other municipal buildings, assisted
living facilities, hotels, homes and commercial buildings. I have evaluated health effects,
prepared remediation plans, overseen remediation and functioned to insure that workers
or residents not be harmed by any potential exposures. I have reviewed hundreds of
scientific papers on mold, mold toxins, bacterial endotoxins, as well as other agents
associated with wet, damp buildings, and their surmised, imputed and/or proven health
effects and have written numerous articles on the subject. In May 2002, my firm
sponsored, along with Georgetown University Medical School, a major international



      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 45 of 91 PAGEID #: 2223




symposium devoted to the health effects of mold and mold toxins. My experience
consulting on indoor air quality issues affecting schools, office buildings and residences
is extensive. I have overseen mold remediation activities in these structures. I have
alsowritten about indoor health and cause/effect relationships for a diverse range of
environmental pollutants.

In the past thirty years, as CEO of the International Center for Toxicology and Medicine
and founder of Building Health Sciences, my associates and I have been involved
extensively in indoor environmental matters. I have examined over two hundred
patients, occupants of residential and municipal buildings, as well as schools (both
students and teachers) who believed that mold in their facilities was making them ill. I
have seen the breadth of complaints, some minority of which may have been mold-
related, most of which were not, but were perceived to be so by involved individuals.

I have also visited dozens of buildings—schools, homes, apartment buildings, assisted
living facilities, hotels, courthouses, and other public and commercial buildings—
throughout the United States in which there was water damage, mold growth and
concern about possible health effects. Some of these had exuberant mold growth
covering many walls; others, small spots to no observable mold growth. Thus, I have
personally seen all of the extremes of water damage and resultant growth of mold. In
those investigations, it was often my responsibility to assess health risks, make decisions
about removing individuals from the environment and, with my colleagues, to develop
remediation plans.

Consequently, I have an extensive professional background in the science of health
effects from indoor environmental contaminants, the evaluation of individuals who have
been in such environments and the investigation of facilities which suffered varying
degrees of water intrusions. This, plus my past and ongoing review of thousands of
primary research papers, position papers and books dealing with the issues at hand
inform my understanding of these matters and my ability to analyze them.

Attached is a true and correct copy of my Curriculum Vitae which details my experience,
training and education with regard to toxicology, the science of causation analysis, to
mold and other agents associated with wet, damp spaces, and their effect upon human
health. (Appendix A)


                                                                                       Page 2




      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 46 of 91 PAGEID #: 2224




In preparing this report, I have reviewed the following materials concerning Ms.
Beckemeyer:

MATERIALS REVIEWED

Medical Records

Masood Ahmad, MD (3/1/2001-12/27/2016)

H.S. Blatman, MD (5/22/2017)

Craig P. Cleveland, MD (9/22/2016-5/16/2017)

Paul S. Hogya, MD (5/8/2017)

Gary Huber, DO (5/22/2017-5/28/2018)

Kroger Little Clinic (10/21/2013-10/28/2017)

Suzanne Matunis, MD, Blue Ash Family Medicine (6/1/2011-9/25/2018)

Medical University of Cincinnati (1/1/2016-8/1/2017)

Harold Pretorius, MD (3/11-8/29/2017)

Liberty Urgent Care (12/17/2012)

Richard E. Sexton, PhD (5/5-5/18/2017)

Quest Diagnostics (3/1/2017)

Workers’ Compensation First Report of Injury (10/21/2016)



Legal Documents

Complaint (10/18/2017)

Technical Data



                                                                                       Page 3




      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 47 of 91 PAGEID #: 2225




Ecostratum Report (1/9/2018)

Gelco Record Production

Depositions

Melanie Beckemeyer (9/27/2018)

BACKGROUND OF THE CLAIM

Melanie Beckemeyer believes that mold in a company car injured her. Ms. Beckemeyer,
a pharmacist, was working for Avantir Pharmaceutical when, on June 20, 2016, she first
drove her company-provided vehicle. She later claimed that she noted a bad smell and,
within thirty minutes of driving the vehicle, became dizzy and lightheaded. Subsequently,
she also complained of sinus and ear congestion, a non-productive cough, nasal
discharge, a sore throat and intermittent shortness of breath. Nearly one month after
exposure to the car ended, she reported developing “brain fog.” She ascribed these
symptoms to mold in the car. However, the medical records show that the symptoms are
temporally disconnected from the car: she had them before, less during, and more after
giving up the car. They also have clear alternate causal explanations: infections and
allergies primarily. Moreover, there was no mold growth identified in the car.

The last day she drove the car was September 23, 2016. The last day she worked was
October 20, 2016.

Ms. Beckemeyer states in her Complaint that she is now “disabled from employment and
suffers from severe cognitive impairment and other maladies.” She reports constant
symptoms of dizziness, nausea, lightheadedness, confusion and brain fog.

MEDICAL HISTORY

Between June 15, 2011 and September 18, 2015, Ms. Beckemeyer was followed and
treated at Blue Ash Family Medicine by her PCP, Dr. Suzanne Matunis, for panic
disorder, major depression, single episode and stress-related hypertension. She
reported being tearful all the time, unable to concentrate, trouble falling/staying asleep,
unwilling to get up in the morning, anhedonia, racing heart, panic attacks with chest
tightness and shortness of breath. In the past, she had had situational anxiety, but
denied depression as severe as she was having at this time. Tearful and distraught, she
was jumping from thought-to-thought, but denied being suicidal. Her blood pressure was
                                                                                       Page 4




      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 48 of 91 PAGEID #: 2226




elevated, something she had experienced in the past with stress. She attributed her
symptoms to work stress. She preferred taking leave and working with a therapist to
taking medication. She later admitted that, while work stress was contributory to her
symptoms, she had significant anxiety related to her mother’s and her dog’s illnesses.

Medication successfully controlled her blood pressure, but she developed palpitations
when she had to deal with work. By June 27, 2011, she felt anxious frequently, had
decreased energy and problems with future planning, functioning and concentrating due
to stress. She remained off work because of continued anxiety, poor focus and stress
from contact with HR. Therapy was begun in mid-July 2011, but difficulty focusing and
concentrating continued. She felt she could not return to work and be productive. By
early August, she was still experiencing occasional panic attacks, had low energy, very
poor concentration and focus. Minimal stress caused her to cry and feel anxious. She
remained off work. She was self-administering health food supplements which she
thought were helping.

 By September 8, 2011 Ms. Beckemeyer’s leave of absence was up: her employer
indicated she had to return to work or she could be terminated. She claimed she was
having panic attacks nearly daily and was unable to return to work. Her panic attacks
worsened when she thought about returning to her previous work environment. Celexa,
an anti-depressant also used to treat anxiety, was begun September 8, 2011.

In mid-September, she began another form of therapy: EMDR [eye movement
desensitization and reprocessing]. As of September 26, 2011, she had a new job offer
for the end of October. Despite feeling anxious with occasional heart racing, she was
having no full-blown panic attacks. Celexa was continued through September 2015. Ms.
Beckemeyer did not return for anxiety/depression or any other complaints after this visit
for fifteen months.

Ms. Beckemeyer’s medical records available to me begin with an allergist’s appointment
in 2001. She was 43 years old and reported she had had allergies for at least ten years.
Her symptoms, most prominent in summer and fall, included sneezing, nasal congestion
and discharge, itchy/teary eyes, mouth-breathing/snores, sinus infections, irritability,
hoarseness and headache. She had a past history of surgery on her turbinates, a
septoplasty [nasal surgery], as well as surgery on the balance mechanism of her inner
left ear. Examination revealed boggy, swollen nasal mucosa and enlarged (3+-4+)
turbinates:all evidence of allergies. She was treated with allergy medication: pills, nasal
                                                                                       Page 5




      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 49 of 91 PAGEID #: 2227




spray and allergy shots (immunotherapy). She continued throughout the available
records to use nasal allergy spray.

Allergy testing in 2004, by her allergist Dr. Ahmad, included only intradermal testing, not
prick/puncture testing. She had 2+ [intradermal] reactions to cat, dog and mold mix 2
(Phoma, Fusarium, Mucor, Pullularia, Rhizopus). On both visits, Ms. Beckemeyer
reported having a pet dog. She had a slight reaction to mold mix 1 (Alternaria, Asp.
niger, Helminthsporium, Pen. Notatum). Subsequently, she had allergy shots, after which
her allergy symptoms improved.

Sore throat, nasal congestion, dry cough, chest tightness and mild laryngitis were
diagnosed in August 2011, as bronchitis, by Dr. Matunis. An antibiotic was prescribed.

In April 2012, Ms. Beckemeyer, 53 years old, complained to Dr. Ahmad of sinus pressure
and pain, as well as fatigue. Her eyes were red, the nasal mucosa was boggy, her
turbinates were 4+ enlarged and there was nasal discharge evident. She had sinus
tenderness and a red throat. Acute sinusitis was diagnosed and treated with antibiotics
and steroids.

Dr. Ahmad saw her again in December 2012. She complained of chest congestion, post
nasal discharge and a stuffy [congested] nose. He noted her past history of allergic
rhinitis, allergy shots, recurrent sinus infections, runny nose, nasal congestion and sinus
pressure. She was taking Cromolyn and Nasonex for her upper respiratory allergies, as
well as Metformin for diabetes. Her nose had yellow discharge and there was drainage in
the back of her throat (PND). She gave a history of asthma. Dr. Ahmad prescribed an
antibiotic and Proventil inhaler. Allergic conjunctivitis and acute pharyngitis [sore throat]
were diagnosed.

Five days later she was seen in Urgent Care complaining of constant, moderately-severe
central chest congestion, with a feeling of pressure and a mildly-productive cough. Chest
X-ray was normal. Acute bronchitis was diagnosed and treated with antibiotics,
Prednisone and a cough suppressant.

After an absence of fifteen months, Ms. Beckemeyer, on December 18, 2012, returned to
see Dr. Matunis, complaining that she had been returning from a trip when someone on
the plane was coughing. Four days later, she had developed a cough, chest and sinus


                                                                                        Page 6




       93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 50 of 91 PAGEID #: 2228




congestion, sore throat and malaise. She had seen her allergist, had taken two courses
of antibiotic, but was still ill. Bronchitis was diagnosed and a new antibiotic prescribed.

One year later, in December 2013, Dr. Matunis performed a yearly physical on Ms.
Beckemeyer. The latter reported that she had had elevated blood pressure a few weeks
earlier and started taking an old prescription given her for hypertension related to stress.
She noted her pulse was in the “upper 80s,” when stressed. The examination was
normal. Dr. Matunis wrote a new prescription for an anti-hypertensive, as well as for
Celexa, an anti-depressant/anxiolytic.

At the University of Cincinnati Medical Center, Ms. Beckemeyer, now 56 years old, was
seen for follow up of left ear reconstructive surgery in June 2014. She had age-related,
bilateral sensory-neural hearing loss. Gait, posture and positional function were normal.
However, in September 2015, she complained that she was “woozy” and had vertigo
following neck manipulation. She was treated with Valium and a steroid dose pack.

On December 15, 2014, Dr. Matunis again saw the claimant for a yearly physical. She
was stressed by her mother’s illness [myelodysplasia} and was looking for a new job.
She had stopped taking blood pressure medication because her elevated pressure had
“resolved.”Her past medical history was noted to include polycystic ovaries and

Meniere’s disease, a condition associated with vertigo and imbalance. Examination was
normal; Dr. Matunis again prescribed Celexa and Nasonex.

Two weeks of ear pressure, left more than right, nausea, ear-fullness and popping,
feeling off-balance and “swimmy,” along with nasal congestion caused Ms. Beckemeyer
to see Dr. Matunis on September 18, 2015. She had a past history of left eustachian
tube reconstructive surgery. Examination revealed no ear findings, but there was boggy
mucosa in the nose with mucoid discharge. A Medrol [steroid] dose pack, Nasacort and
Celexa were prescribed. Ms. Beckemeyer requested a letter since her employer required
her to take a pre-arranged shuttle from the airport which made her nauseated.

After undergoing neck manipulation for TMJ symptoms, Ms. Beckemeyer developed
nausea and vertigo, a severe type of dizziness. She consulted her physician at the
University of Cincinnati. She was advised to discontinue using Flonase and begin
Nasonex. Celexa was continued.


                                                                                        Page 7




       93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 51 of 91 PAGEID #: 2229




Ms. Beckemeyer returned to Dr. Matunis in January 2016, for left hip pain after slipping
on ice. Ibuprofen and a Medrol Dosepak were prescribed for lumbar tenderness and
spasm. She continued seeing her physician for this problem through mid-September
2016.

Avanits Pharmaceuticals hired the claimant on April 25, 2016. She first drove a
company-provided car on June 20, 2016. On June 28, 2016, Ms. Beckemeyer was seen
at Kroger Little Clinic for sinus and ear congestion, headache, non-productive cough,
chest tightness, nasal discharge and a sore throat for three days. These symptoms were
the same ones she repeatedly reported to Dr. Ahmad as typical of her past history in
2001 and 2012. Later, in the context of this claim, she claimed that she had noted a bad
smell and, within thirty minutes of driving the company vehicle (June 20), she became
dizzy and lightheaded. That is not the history she related to the medical provider on June
28. In this contemporaneous record, there was no mention of becoming symptomatic
when she first got the car or of noticing any odor in the car.

She acknowledged, on this June 28 visit, that she had sick contacts at home (in other
words, a source of infection). She gave a history of seasonal allergies, multiple ear
surgeries and post nasal drip (PND). Examination revealed clear fluid behind her
eardrums, mucoid nasal discharge, inflamed mucosa, swollen nasal turbinates and
maxillary [sinus] tenderness. Her throat was normal; her lungs were clear. Viral sinusitis

was diagnosed. Sudafed and Prednisone were prescribed. Thus, symptoms she later
ascribed to the car were, eight days after she got it, diagnosed as a viral sinus infection
which was clearly the correct diagnosis. There is not a hint of evidence or reason to
believe from this record that exposure to mold in the car (even if there were mold in the
car) played any contributory role.

Dr. Matunis saw Ms. Beckemeyer September 13, 2016, for an upper respiratory infection
that had been present for three-to-four days. Once again, this was a new-onset event,
three months into her use of the car. There was no mention of the car or of ongoing
symptoms. Her nasal mucosa was boggy, with a mucoid discharge. The physician
diagnosed acute nasopharyngitis and prescribed an antibiotic to be taken if, after ten
days, the symptoms had not improved or had worsened. Once again, Ms. Beckemeyer
had another infection, having nothing whatsoever to do with the car. She later ascribed
the symptoms of that infection to her perception that contamination in her car was
responsible.
                                                                                       Page 8




      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 52 of 91 PAGEID #: 2230




Nine days later, September 22, 2016, Ms. Beckemeyer appeared at the office of Dr.
Ahmad, her allergist. She complained of symptoms similar to those she had described in
June, at the Kroger Little Clinic and in mid-September to Dr. Matunis: nasal congestion,
intermittent headache, some throat clearing with excessive post nasal drip (PND), severe
sore throat. He diagnosed perennial allergic conjunctivitis and allergic rhinitis due to
pollen. She did not tell the allergist that she was seen nine days earlier and diagnosed
with an upper respiratory infection. Nor did she report that she was given an antibiotic
which she did not take. She told him that all of these symptoms began after exposure to
mold, not that she had several infections which had nothing to do with mold; or, that
neither mold related or water damage, nor the putative leak causing it was found when
her car was evaluated by Performance Toyota.

All of these symptoms, she now said, had begun after being exposed to a car with mold.
However, she acknowledged a long history of perennial allergy symptoms, of variable
frequency during each month. She also said that she had symptoms at home, at work,
at other people’s homes and outdoors, as well as in her car. Other symptom triggers
included upper respiratory infection, weather changes and dusting. She denied having
had allergy testing (she actually did in 2004) and noted she had pet dog(s). She later
tested positive to dog on allergy testing. Her few physical findings were similar to her
previous visits in June and September: puffy eyes, boggy, swollen, irritated nasal
mucosa; her throat was normal. Qnasl, a steroid spray for allergies was prescribed, as
was a saline nasal spray. Dr. Ahmad diagnosed allergic rhinitis due to pollen, perennial

allergic conjunctivitis; he noted symptoms of nasal congestion, post nasal drip, dizziness
and effects of change in ambient water pressure on ears.

Ms. Beckemeyer later told Dr. Matunis that the last day she drove the car was
September 23, 2016. She said that her allergist, Dr. Ahmad, had told her that it “was very
difficult to get rid of [mold] and no chemical way to kill it.” He allegedly told her not to
drive the car.

On October 13, 2016, Ms. Beckemeyer was seen at the University of Cincinnati. She
reported having had “excessive mold exposure” over the summer from a car leak which
had caused her to develop respiratory issues. She had gotten rid of the car two weeks
earlier; she was feeling better, but her symptoms were not gone. She had a history of
Meniere’s disease, for which she had had a left endolymph shunt and a tube that had
been in her ear for more than twenty years. That disorder produces, among other things,
                                                                                        Page 9




       93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 53 of 91 PAGEID #: 2231




dizziness. Since 2004, she admitted having some motion sensitivity which, she claimed,
had been “exacerbated by this mold exposure.” She denied ear pressure, despite having
reported ear congestion and ear pressure in June and September 2016, respectively.
She was taking Qnasl for some PND and “persistent facial pressure,” a brand new
complaint. Her past history included immunotherapy, after which her allergy symptoms
had abated. Due to fly in a few days for her job, Ms. Beckemeyer was concerned about
doing so until her symptoms improved; the physician concurred.

Dr. Ahmad saw her the following day, October 14. She was complaining of nasal
congestion, sneezing, some dizziness/lightheadedness, some ear pressure (denied, just
the day before) and a frontal, mid-facial headache. She denied confusion, paresthesias,
dysarthria or gait instability, cough, shortness of breath, wheezing, anxiety or depression.
Physical findings on examination included red, puffy eyes, circles, as well as boggy,
swollen, irritated nasal mucosa. Sinuses, throat, ear, voice, tonsils and chest were all
normal. Zyrtec, an allergy pill and Singulair were prescribed. Dr. Ahmad noted nasal
congestion, PND, moderate persistent asthma, food allergy and dizziness. This was now
several weeks after she had stopped driving the car. This makes it quite clear that
ongoing allergic symptomatology was related to factors having nothing to do with the car.
If one is exposed to an allergen source, then eliminating that exposure ends the allergic
response. The fact that the allergic symptomatology did not abate after the car was gone
means the car was not responsible.

When Dr. Matunis saw Ms. Beckemeyer on October 18, 2016, the history provided was
that the car she had been provided for work had had mold which caused nasal
congestion, ear pressure, balance problems, brain fog (a new complaint), mild headache
and facial congestion. She believed she wasn’t getting better. The only physical findings
were boggy nasal mucosa with a mucoid discharge. Dr. Matunis, based on the
information given her, diagnosed allergic rhinitis due to mold. A steroid dose pack was
prescribed. These symptoms, it is worth noting, were similar to ones reported throughout
her medical records, beginning before she ever drove the company car in 2016, and
associated with her general allergy symptoms, sinusitis and upper respiratory infections.

Ms. Beckemeyer stopped working on October 20, 2016. A First Report of Injury to Ohio’s
Bureau of Workers’ Compensation listed the diagnosis of Allergic Vestibulitis due to
repeated mold exposure in company vehicle. The basis for this claimed diagnosis is not


                                                                                        Page 10




       93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 54 of 91 PAGEID #: 2232




clear. It was not listed as a diagnosis by any physician in any of the medical records
available for this review.

When she returned to Dr. Ahmad on October 24, Ms. Beckemeyer now complained of,
“lots of dizziness symptoms, some sinus pressure, nasal congestion, left ear full, lots of
post nasal drainage.” Her physical findings were similar to previous examinations: puffy
eyes, boggy, swollen, irritated nasal mucosa. She had new symptoms of tenderness to
palpitation of moderate degree over the right frontal and of significant degree over the
left frontal sinuses. Singulair tablet and saline nasal spray were prescribed. Xyzol was
discontinued. Once again, this was a month after the car was gone. Clearly, these
allergic symptoms and manifestations were related to other sources of allergens, not to
the car.

The same day, she was seen by Dr. Matunis, to whom she reported persistent dizziness
and malaise. She had not been in the car since September 23, but her symptoms had
“continued to get worse.” The Prednisone had been of “no help,” in fact, Ms. Beckemeyer
thought it “may have made [her] worse.” She was “unable to stay on task,” because the
dizziness affected her ability to focus. Unable to drive or to fly, she had nasal congestion,
no discharge, mild PND, pressure in her left ear, but no hearing loss or tinnitus, fever,
chest congestion, cough or wheeze. Her “balance was off, but she had no full-blown
spinning. She was taking Sudafed and Bonine, with minimal-to-no improvement. Dr.
Matunis noted boggy nasal mucosa with mucoid discharge. She prescribed Anti-Vert and
advised Ms. Beckemeyer to stay off work for two-to-four weeks.

On October 27 and 28, 2016, Ms. Beckemeyer returned to the University of Cincinnati
Medical Center for worsening of her motion sensitivity which had been present since her

2004 ear surgery. She attributed the worsening to mold exposure. Despite changing
vehicles, her symptoms of lightheadedness, imbalance, nausea, constant foggy thinking
and some sensitivity to loud sounds. Her recent sinus congestion, intermittent left ear
pain and popping had always been successfully managed with Dramamine,
pseudoephedrine, but these were no longer working. Vertigo, headache and blurred
vision were denied. Examination of the ears revealed poor movement of the left eardrum
and normal central nervous system examination. VNG and VEMP testing were ordered.
Again, she made the attribution to mold in the car, but that was clearly incorrect. She had
not been in the car for over a month. Moreover, the car had never had a mold issue.

                                                                                        Page 11




       93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 55 of 91 PAGEID #: 2233




Dr. Ahmad saw Ms. Beckemeyer on October 31, 2016. She reported increased
symptoms of dizziness, lightheadedness, a lot of throat clearing and some headaches.
Nasal congestion, a runny, stuffy nose and sneezing were also described. She denied
confusion, but said brain fog was still present. The only findings were puffy eyes with
circles and boggy, swollen, irritated nasal mucosa. Qnasl was continued and
hydroxyzine, an antihistamine, was prescribed. He again diagnosed allergic rhinitis due
to pollen and perennial allergic conjunctivitis. The same day, Dr. Ahmad wrote a letter
stating, “Ms. Beckemeyer is under my care and is experiencing constant dizziness,
nausea and brain fog. Motion exacerbated these symptoms. I advise she not return to
work until the situation is resolved.”

Dr. Gamm, the Medical Review Officer for Ohio’s Bureau of Workers’ Compensation, on
November 3 2016, denied Ms. Beckemeyer’s Workers’ Compensation Claim. He noted
that “the medical documentation supported her claim of allergic rhinitis and allergic
conjunctivitis due to mold as being directly related to the 9/22/2016 injury. However,
nasal congestion, post nasal drip and dizziness are symptoms, not diagnoses and
should not be considered. Finally, medical documentation did not support any additional
conditions related to this claim nor any relevant pre-existing conditions.”

The Workers’ Compensation form completed by Ms. Beckemeyer on November 15,
2016, noted that she had last worked on October 20, 2016. She had left work because of
“repeated exposure to mold in company-provided vehicle.” She listed the following
symptoms as being related to that exposure: “dizziness, vertigo [new], nausea, motion
sickness, brain fog, lightheadedness, confusion, spacey [new], impaired memory [new]
and cognition.” Thus, seven weeks after use of the care ceased, she reported several
brand new complaints. Brain fog had first been reported more than three weeks after
she stopped using the car in which she claimed mold exposure occurred.

For the last time, on December 13, 2016, Ms. Beckemeyer saw Dr. Ahmad. She told him
she was “doing well, in general.” She had occasional itchy eyes and occasional
dizziness, but no sinus symptoms, no ear pressure, headaches, chest congestion or
coughing. At times, she had mild-to-moderately severe nasal congestion and somewhat
increased PND. Her eyes still appeared puffy; her nasal mucosa was enlarged and
bluish in appearance. He again diagnosed Allergic rhinitis due to pollen, perennial
allergic conjunctivitis, nasal congestion, PND, dizziness and added food allergy. Allergy
testing was performed on this visit. Skin prick testing was 3+ for two molds: Epicoccum

                                                                                       Page 12




      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 56 of 91 PAGEID #: 2234




nigrans and Fusarium. 1+ for soy and 1-2+ for peanut. Intradermal testing, a form of
allergy testing less likely to be associated with clinical symptoms, was 1+ for cat, dog
and ragweed; she had no reaction to Mold mix 1. She had a 2+ reaction to Mold mix 2
which included the two molds she was sensitive to on prick testing. It should be noted
that neither of these molds to which she tested positive are commonly associated with
interior wet spaces. Others are to which she did not test positive.

On December 13, 2016, Ms. Beckemeyer saw Craig Cleveland, MD. She told Dr.
Cleveland that her dizziness and motion sickness were improved. She had no sinus,
vision or hearing problems, no headaches or motor difficulties. For the first time, in the
available records she described cognitive problems: word finding difficulties, slow
thought, being forgetful, all of which, she complained, had not significantly changed or
improved. She had not reported these previously to any physician whose records I have.
She claimed that she had increased her Nystatin (anti-fungal medication) to twice per
day. I have no record of who gave her this. Dr. Cleveland noted that this appointment
was a Workers’ Comp follow up visit, but there is no prior record from his office provided.
He diagnosed allergic conjunctivitis, allergic rhinitis, labyrinthitis, motion sickness,
confusion, cognitive impairment.

From this point on, Ms. Beckemeyer saw standard medical practitioners only rarely. She
visited her Primary Care physician, Dr. Maturnis (2/1/2017, 4/12/2017, 6/19/2017,
12/28/2017, 3/26/2018 and 9/25/2018) for shoulder pain and urinary tract complaints.
The available medical records end September 25, 2018, more than two years after Ms.
Beckemeyer last drove the company car she believed contained mold. She complained
about sinus and ear pressure, mild vertigo and feeling her balance was “off all the time.”
She claimed that these had been problematic since her “mold allergy [exposure].” The
only findings were in her nose: boggy tissue and mucous discharge. Although Ms.
Beckemeyer erroneously believed she was still experiencing symptoms from her long
past car exposure, Dr. Matunis recognized allergy-related findings and diagnosed
“seasonal allergic rhinitis due to pollen.” An exposure, even to something to which she
was actually clinically allergic, could not, two years after that exposure ended, cause
continuous, protracted symptoms.

Ms. Beckemeyer also consulted her ear surgeon at University of Cincinnati and was
evaluated there by a neurologist, Dr. Shatz, who also tested her for her multiple cognitive
complaints. She had become convinced, by her internet research and non-standard

                                                                                       Page 13




      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 57 of 91 PAGEID #: 2235




practitioners that she had an “inflammatory process” in her brain, as well as her body,
related to mold.

Detailed, standard neurological evaluation at the University of Cincinnati by Dr. Shatz in
August 2017 revealed a completely normal neurological physical examination, although
she did comment that Ms. Beckemeyer was “very distressed about the symptoms” she
believed were caused by mold exposure and she was “concerned about future
employment.” Despite repeated complaints of word-finding difficulties, examination found
that she had normal rate, rhythm and clarity of speech, as well as verbal agility. She had
both intact grammatical expression and comprehension. Language was fluent, without
any word-finding difficulty, blocks or circumlocutions. Testing was conducted for the
complaints of “cognitive impairment with memory loss.” Dr. Shatz found only “mild
cognitive impairment with memory” and concluded that the overall pattern of memory
impairment was consistent with impaired attention and concentration, to which her
admitted sleep disturbance contributed.

As noted, the majority of Ms. Beckemeyer’s medical visits and care after November 2016
was provided by non-standard medical providers who subjected her to a vast array of
unnecessary diagnostic studies and treatments. The diagnoses and treatment regimens
they provided were all directed at indicting mold as the cause of her complaints. Their
practice patterns which are not generally-accepted or scientifically-supportable will be
discussed below.

MEDICAL ANALYSIS

Nasal and other upper respiratory tract symptoms: allergy or infection

Although Ms. Beckemeyer has associated the onset of her symptoms to driving a
company vehicle which she decided had mold, the contemporaneous medical records
reveal that during this period she was diagnosed with upper respiratory infections, the
actual cause of her symptoms. On June 28, 2016, she had sinus tenderness, inflamed
nasal mucosa and discharge. Viral sinusitis was diagnosed and treated with steroid
medication.

It appears that these symptoms resolved with the prescribed treatment because when
she saw her primary care physician, Dr. Matunis, one week later on September 7, for


                                                                                       Page 14




      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 58 of 91 PAGEID #: 2236




back pain, stiffness and foot numbness, she reported no complaints like those described
in June. Moreover, she was not taking any medications for those kinds of complaints.

On September 19, 2016, Dr. Matunis diagnosed her with acute, that is, recent onset,
naso-pharyngitis. Her complaints were new: she reported a three-to-four day history of
an upper respiratory infection, nasal congestion, ear and sinus pressure, with nasal
discharge and a morning cough. An antibiotic was given only to be taken if her
symptoms did not improve or got worse within ten days. Thus, once again, while she had
the car she had a non-car-related cause of symptoms. Moreover, those had not been
continuous with the car usage, as she claimed; rather, they were intermittent and acute.

Three days later, on September 22, she saw her allergist, Dr. Ahmad and reported a
brand new history and set of symptoms. She claimed that “nasal congestion, some
lightheadedness [new complaint], intermittent headaches and some throat clearing,
severe sore throat and excess post nasal drip” had “all begun after being exposed to a
car with mold.” A steroid spray was prescribed. She later said that Dr. Ahmad told her to
get rid of the car. The last day she drove it was September 23, 2016. Her last day of
work was October 20, 2016.

Allergic symptoms arise when the allergic individual is exposed to the allergen to which
she is sensitive. The presence of the allergen causes the immune system of an allergic
person to react. Once the allergen is removed, stimulation of the immune system and the
related symptoms cease. She admitted that she had a long history allergy symptoms
throughout the year, with symptoms during each month. Ms. Beckemeyer tested positive
to two molds in December 2016: Epicoccum nigrum and Fusarium, neither of which is
identified as one of the water-loving molds commonly found in damp situations, as is
alleged here. Both of these mold/fungi are found in air and are plant pathogens: the
former grows on the surface of plant leaves, the latter is found in soil. Both can be
transported on pet fur, shoes and clothing into the indoor environment and are commonly
found in homes and buildings. Allergic reactions to these molds are just as, or more
likely, to occur at home and out-of-doors than in a car. If, as alleged, the car was the
source of her allergic symptoms, they should have improved after her exposure to the
source ended. If Ms. Beckemeyer’s symptoms were allergic in nature, as Dr. Ahmad’s
findings, diagnosis and treatment confirm, then the continued persistence of her eye,
nose, throat and sinus complaints would be typical and confirm her continued exposure
to allergens in her home, possibly her workplace and the outdoor environment. The fact

                                                                                       Page 15




      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 59 of 91 PAGEID #: 2237




that the car was long gone yet symptoms continued mitigates against anything causal
associated with the car.

Neurological complaints: lightheaded, dizzy, balance off, motion sickness, vertigo

Ms. Beckemeyer had longstanding problems with her middle ear and her balance
beginning at least in 2004. She related that motion sensitivity, present since 2004 ear
surgery, had been “exacerbated by excess mold exposure.” Lightheadedness was
reported on October 14 and 18. On October 14, dizziness was first mentioned.

By October 24, “lots of dizziness,” was described to Dr. Ahmad; Ms. Beckemeyer had
not been in the car for over one month. The same day, she told Dr. Matunis that she had
“persistent dizziness and malaise [new complaint]. Symptoms continued to worsen.” On
October 27, she claimed that her “dizziness was getting worse.” When her subjective
complaints of dizziness and imbalance were evaluated on October 28, at the University
of Cincinnati, “no specific peripheral vestibular problem was found,” but abnormal
tympanic membrane findings were present. Vestibular testing was ordered, but MS.
Beckemeyer did not complete it. Increased dizziness was again related on October 31.

Although Ms. Beckemeyer later claimed dizziness had begun thirty minutes after she first
drove the car in June, the medical records confirm lightheadedness was first reported on
September 22, months after she got the car and dizziness on October 14, 2016, after
she gave it up. Thereafter, increasing and persistent dizziness continued to be
described, as well as imbalance and vertigo, a unique type of dizziness. Even if
dizziness were related to some allergic reaction to the car, it would not begin, then
worsen and persist weeks, months and over a year after that exposure had ended, as is
claimed here. The most likely explanation for ongoing dizziness/vertigo was related to
her longstanding motion problems which followed her endolymphatic surgery in 2004.

Neuropsychiatric symptoms: brain fog, confusion, disorientation, memory loss,
trouble following conversation, trouble initiating tasks, word-finding difficulty,
difficulty focusing, anxiety

Another of Ms. Beckemeyer’s persisting complaints is “brain fog.” Although she attributes
this to mold in the car, it wasn’t reported until October 18, 2016, three weeks after she
had ceased driving that car. “Brain fog” suggests unclear or confused thinking, yet she


                                                                                       Page 16




      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 60 of 91 PAGEID #: 2238




specifically denied any symptoms of confusion on October 14, to Dr. Ahmad. The term
“brain fog” is a symptom commonly associated with anxiety.

The first time “impaired memory” appears as a claimed symptom is in the Workers’
Compensation form Ms. Beckemeyer completed November 15, 2016. The first time
“word-finding” as a problem is reported is December 13, 2016, in Dr. Cleveland’s medical
record. There is no conceivable pathophysiological mechanism that could explain the
development of any of these new symptoms, long after the car exposure ended or their
persistence more than a year later, as is claimed. There is also no conceivable way that
mold could ever cause such disorders. There are no recognized, accepted brain effects
of indoor environmental mold exposure of the type experienced by Ms. Beckemeyer.

The absence of any organic brain injury affecting cognition (memory, speech, language,
thought) is confirmed by the neurological evaluation and testing performed at the
University of Cincinnati in August 2017, by Dr. Shatz. Ms. Beckemeyer admitted to mildly
reduced overall sleep time; Dr. Shatz felt that this sleep disturbance could contribute to
her distractibility, affecting attention/concentration and, therefore, memory. She
specifically commented that the test result findings were non-neurodegenerative and
attributable to the reported sleep disturbance. Ms. Beckemeyer admitted to Dr. Shatz
that she was anxious and distressed, both of which are well-recognized as affecting
one’s ability to attend and concentrate, thus impacting memory. The family history of
dementia in Ms. Beckemeyer’s mother and two maternal uncles was recorded by Dr.
Shatz, but she did not diagnose any neurodegenerative disorder or Alzheimer’s. Brain
MRI revealed mild-to-moderate white matter changes consistent with aging and chronic
small vessel ischemia, most often seen as a manifestation of hypertensive
arteriosclerosis. The medical records chronicle frequent poor control of the claimant’s
high blood pressure. There are no generally-accepted, known brain effects of mold,
either through allergy or so-called “toxicity.”

It has been alleged by some of Ms. Beckemeyer’s medical providers that she is
experiencing some neurological effect induced by the claimed car mold. Short of a fungal
mold infection of the nervous system which she clearly does not have, such an effect
does not occur.




                                                                                       Page 17




      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 61 of 91 PAGEID #: 2239




As noted earlier in this report, Ms. Beckemeyer sought the majority of her care after
November 2016, with a series of fringe practitioners, Drs. Cleveland, Blatman, Pretorius
and Huber, who encouraged her mistaken notions regarding mold and its health effects.
As will become clear later in this report, their unnecessary and misleading testing,
treatments and erroneous causal attributions only served to support her mistaken
beliefs, hindering her ability to receive proper treatment or to recover, ultimately causing
her to believe she is totally disabled and unemployable. Their diagnoses include Chronic
Inflammatory Response Syndrome (CIRS), a made-up non-illness from mold and other
biotoxins requiring detoxification; brain vasculitis; abnormal neuropsychological findings
from “biotoxin” exposure; or, an immunological illness caused by a variety of ill-defined
toxins. These “diagnoses” and causal attributions are not recognized by the standard
medical community; they are neither generally-accepted nor scientific knowledge.
Rather, they are the province of a small group of fringe practitioners who support
vulnerable patients’ false belief systems.

ENVIRONMENTAL DATA ANALYSIS

Ms. Beckemeyer took her company vehicle to Performance Toyota on June 23, 2016.
She requested the leak from the passenger side visor be fixed. According to the
information in the Performance Toyota records, no specific leak is described; a damaged
washer line, possible chewed by mice, was replaced. There is no description of any
mold. At her request, the HVAC evaporator was flushed and all of the water was
removed from the evaporator box.

Testing of the vehicle was conducted by Ecostratum in July 2018. All levels of molds
sampled in the car, in air and dust, were either low-to-non-existent and/or no different
from common background levels found in non-water damaged homes. For example, the
highest mold level found was 10,000 cfu/gm of carpet dust (Penicillium). Hicks et al
studied never water-damaged homes in California. The average mold levels in carpets
with low traffic were >55,000 cfu/gm of dust. Of that, approximately 12,000 was
Penicillium. Even bedspreads had > 24,000 cfu/gm of dust. Since molds are carried into
interior spaces like cars and homes on clothing and shoes, it is hardly surprising that car
carpets will have mold when tested. So does all of our home carpeting. The air levels in
the car, too, were well below those commonly found in indoor air (Gots et al 2003, Baxter
et al 2005).


                                                                                        Page 18




       93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 62 of 91 PAGEID #: 2240




MEDICAL CAUSATION ANALYSIS

Recognized effects of mold and mold toxins (general causation)

The primary scientifically-known and generally-accepted mold effects and those of other
factors associated with wet-damp spaces, relevant to this matter are discussed by the
National Academies, Institute of Medicine (2004), Bush et al (2006), World Health
Organization (2009), The German Society of Hygiene, Environmental Medicine and
Preventive Medicine (2017) and Borchers et al (2017). They include:

•     Upper respiratory allergies (like hay fever) in some allergic people which produce:
        Red, watery eyes

         Sneezing and runny nose

         Stuffiness and congestion

         Occasionally accompanied by loss of energy

    • Lower respiratory allergies (asthma) in some allergic people characterized by:

         Shortness of breath and Wheezing

These symptoms commonly occur absent mold exposure. They have many other
causes, including viruses, pollens, dust, dust mites, cat and dog dander, as well.

General Causation and Wet-Damp Indoor Spaces

A number of studies have linked symptoms to either wetness-dampness in indoor
spaces or to odors of mold indoors. In those studies, the matter of causality is, however,
far from settled. Studies of the indoor environment and health are plagued by major
methodological problems. To begin with wetness and dampness are generally self-
reported by the study group and never verified. Those self-reports of dampness may
range from a small spot of water under a sink to a major flood. Those hardly lead to
similar potential exposures. Complaints, too, are rarely verified, but are rather self-
reported. The characterization of a moldy odor is highly variable and subjective. Finally,
the majority of studies are populated by symptoms or disorders that are never validated
by reviews of medical records. As a result, the current belief among some that wet-


                                                                                          Page 19




         93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 63 of 91 PAGEID #: 2241




damp spaces cause symptoms absent an allergic basis is the subject of extensive study,
but remains well short of settled.

The complexity of this issue is magnified by the many dozens of agents that have been
associated with damp indoor spaces and to non-wet spaces as well, ranging from
endotoxins, to mycotoxins, to glucans to bacteria. For example a study by Hicks et al
(2005) found extensive mold in carpets of homes that had never been water damaged.
None of the numerous identified agents found in homes has been specifically connected
to any claimed health effects and studies of them individually often find no such
connection.

It has also been hypothesized that people who have symptoms are more likely to report
wetness and dampness in their homes. In other words, the symptoms, rather than being
caused by wetness, may actually be reason for an over-reporting of dampness.

Lastly, there also exists a body of research which has linked early childhood exposures
to microbiological agents in the indoor environment to protection form allergy, asthma
and respiratory disorders. This has led to the “hygiene hypothesis,” arguing that some
exposures are salutary rather than harmful.

Thus, whether wet/damp indoor spaces produce symptoms or illnesses, other than by
allergy, is argued, but far from proven. It is a complex and unsettled issue.

For the most part, the known and accepted health effects of molds and mold toxins, as
well as other agents associated with wet-damp indoor spaces, are well-studied and
widely published. Mold occurs naturally both indoors and outdoors. Mold spores occur in
far greater concentration in the out-of-doors, but are transported indoors via mechanical
ventilation, movement through open doors and windows, transport on materials brought
into a building, or carried on humans, plants and animals. Some indoor surfaces can
support the growth of mold. These materials include paper backing on wallboard, some
types of ceiling tiles, wood, carpeting, fabrics and insulation materials made of cellulose.
Indoor plants likewise are a source of mold. An ongoing water source is also necessary.

The clinical effects associated with mold/fungi exposure can be classified into three
broad categories: allergic effects, infectious effects and potential toxicological effects.
The latter, at issue here, are best known to occur following certain unusual and extreme
exposure circumstances, not commonly related indoor air.

                                                                                        Page 20




       93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 64 of 91 PAGEID #: 2242




The allergic effects are primarily evident as respiratory allergies, such as hay fever or
upper respiratory allergies, allergic rhinitis, asthma and, very rarely, hypersensitivity
pneumonitis and allergic bronchopulmonary aspergillosis. Mold-related allergic effects
are generally mild and occur only when actual exposure occurs. They are equally likely
to result from exposure to molds out-of-doors, as well as from many other aero-
allergens: pollen, grasses, dog and cat dander, feathers, dust mites, trees, weeds, house
dust. Allergic responses occur to mold only in allergic people, who make up
approximately 6-8% of the US population. Ms. Beckemeyer had some positive allergy
tests to certain molds and to other agents as well.

Certain infectious mold disorders occur in immunocompromised individuals: for example,
persons taking immunosuppressant medications, or those with immune suppressant
diseases. In these vulnerable individuals, mold exposure may lead to infection in the
lungs, sinuses, or even generalized infections throughout the body. These infections
have not been seen in generally healthy individuals exposed to mold in the indoor
ambient air. The scientific and medical literature also documents infections developing
from exposure to outdoor molds endemic to specific areas of the country. Such infections
have almost never been associated with indoor exposures.

The third category of adverse health effects associated with mold is that of mold toxicity.
That seems to be what is claimed in this case. Several of Ms. Beckemeyer’s physicians
seem to believe that mycotoxins or other ill-defined “toxins” are responsible for her
symptoms. One of the claimant’s experts, Dr. McMahon, believes that various ill-defined
agents in wet-damp indoor spaces produce some sort of toxicological effect which leads
to an immunological disorder. He shares that belief with a small cadre of fringe
practitioners whose methodology and self-described “disease” is not recognized or
generally-accepted. They call this disorder chronic inflammatory response syndrome
(CIRS or SIRS), a “disease” known only to them, not generally-accepted and not
recognized by the American Academy of Allergy Asthma and Immunology (AAAI), even
though Dr. McMahon and likeminded practitioners claim this is an “immunologic
disorder.”

Many molds are capable of producing mycotoxins under specific circumstances of
moisture, temperature and nutrition. Some mycotoxins can cause adverse health effects
in humans. Such effects include adverse impacts on a variety of organs and metabolic
processes, for example, aflatoxin affects the liver when ingested (not inhaled) in

                                                                                       Page 21




      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 65 of 91 PAGEID #: 2243




sufficient amounts. Popular perceptions notwithstanding, the literature does not provide
valid or accepted scientific support for the proposition that toxic effects associated with
mold exposure are caused by the kind of low-dose inhalational exposures potentially
encountered in indoor air. The studies which I shall describe elucidate the near
impossibility of such effects.

No “CIRS” post Hurricane Katrina

If wet/damp indoor spaces produced the disorders claimed in this case, it would stand to
reason that such disorders would have been found in homes following hurricane Katrina.
Post Katrina, despite being extremely wet and moldy, exposures in these flooded homes
did not lead to illnesses. The Centers for Disease Control (CDC) evaluated homes in
New Orleans after Hurricanes Katrina and Rita. The authors of that evaluation found no
evidence of adverse health effects associated with those exposures (Barbeau et al,
2010)

Mycotoxins

Specific mold species produce specific mycotoxins under specific conditions. The mere
presence of such a mold is not evidence that it was producing any mycotoxin. Potentially
toxigenic species of mold, including various species of the genera Aspergillus,
Penicillium and Stachybotrys, do not always produce mycotoxins. Certain growth
conditions are required and, in the case of Stachybotrys, different species produce
entirely different mycotoxins ranging from nontoxic to humans to potentially-harmful at
high doses. Some of the plaintiff’s causation experts in this case have assumed, with no
support, that mycotoxins or other biotoxins were present in the car. None was actually
measured. Moreover, as I will discuss later, airborne mycotoxins do not contribute to the
body’s mycotoxin burden. On the other hand foodborne mycotoxins do.

In order for a toxic effect to occur, the toxin must be present, a route of exposure must
be available and a sufficient dose must be received to produce the toxic effect.
Mycotoxins are not volatile, nor are they cumulative (Bush 2006). An immutable
principle of toxicology is that toxicity depends upon the dose of the toxic agent which
enters the body. Thus, botulinum toxin is lethal in rather small quantities if eaten by
people, but it is injected safely in millions (as Botox) to treat wrinkled skin. By diluting it a
million-fold, Botox is converted from highly toxic to quite safe. The same is true for
mycotoxins. As is discussed below, the calculated doses required for both acute and
                                                                                           Page 22




       93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 66 of 91 PAGEID #: 2244




chronic exposures to result in adverse health effects in humans are so high that it is
essentially impossible for exposure in a home, let alone a car, to ever lead to a toxic
adverse human health effect. The American College of Occupational and Environmental
Medicine (2002 and 2011), the National Academies of Sciences’ Institute of Medicine
(2004), the American Academy of Asthma, Allergy and Immunology (2006) and the
World Health Organization (2009) all concur that the scientific and medical evidence
does not support the contention that mycotoxin-related disease (mycotoxicosis) occurs
via inhalation of these agents in indoor environments. The current fact sheet of the US
CDC concurs with that assessment:            http://www.cdc.gov/mold/stachy.htm     More
specifically and pertinent to this case, none of these recognized organizations find any
support for the proposition that either mycotoxins or other agents associated with damp
indoor spaces, can produce either the range of symptoms alleged here or the “disease”
“CIRS” made up by Dr. Shoemaker and adopted by Dr. McMahon.

Direct toxicological calculations show quite clearly that it is almost impossible for there to
be enough mycotoxins in indoor air to produce toxicity (Kelman et al, 2004). They
calculated that 200,000 spores/m3 of mold spores chock full of the most toxic of
mycotoxins would be the necessary airborne concentration to produce toxicity. All levels
of molds sampled in the car, in air and dust, were no different from common background
levels found in non-water damaged homes. Only a fraction of those were of the type
which the plaintiff’s experts in this case might contend produce mycotoxins. In other
words, even if these spores did contain those mycotoxins (a proposition which is
speculative and unproven) the amount of those is thousands of times lower than the
lowest level which is potentially toxic to human beings.

Toxic doses of mycotoxins can be taken into the body, primarily through ingestion of
heavily-contaminated foods. This has been primarily an issue in farm animals which
have eaten contaminated hay or grains. When a toxic dose of mold/mycotoxin is taken
into the body, as might follow ingestion of heavily contaminated spoiled food, for
example, a specific pattern of illness, well-documented in the literature, arises which is
specific for given mycotoxins (Kuhn et al, 2003). That foods, not air, are the source of
mycotoxins in our bodies was illustrated in two recent studies. In one, molds were found
in homes which, in the laboratory, produced mycotoxins. However, in the homes in which
those molds were found, the mycotoxins were not found (Jezak et al 2016). In another
study, workers in grain grinding mills where airborne mycotoxin levels are quite high, had
the same urinary mycotoxin levels as a control group whose exposure was purely dietary
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       93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 67 of 91 PAGEID #: 2245




(Follman et al 2016). Mycotoxins in our bodies and found in our urine come from food,
not from air.

Fung and Hughson (2003) conducted a review of 416 studies in which no scientifically-
sound evidence of a causal relationship between inhaled indoor mold toxins and any
adverse health impact was found. This review also included, without specific comment,
all other substances associated with wet/damp indoor spaces since that was setting
which gave rise to these studies. Mold toxin risk assessment was reported by the
American College of Occupational Environmental Medicine (ACOEM) in its 2002
consensus document which was reaffirmed in 2011. This well-respected, relevant
medical organization determined that, even if some mycotoxins are produced and
become airborne and accessible for human exposure, the amount and duration of
exposure shown to cause adverse health effects was extremely high: far higher than
ever occurs with indoor contamination.

In 2004, the Institute of Medicine (IOM), National Academies of Sciences, thoroughly
reviewed the available medical and scientific literature to determine whether there was
any association between exposure to damp indoor environments where mold and other
agents grow and a variety of symptoms, conditions and diseases. The IOM found no
evidence of an association (not causation) between exposure to damp indoor
environments and the majority of symptoms alleged in this claimant.

Similarly, in its 2009 Guidelines for Indoor Air Quality: Dampness and Mould, the World
Health Organization specifically noted that, “no study has shown that people living in
damp buildings who complain of nervous system symptoms are exposed to effective
levels of mycotoxins.” WHO concluded, “The evidence that [mycotoxins] play a role in
health problems related to indoor air is extremely weak.” Further “toxicological studies”
were called for, in order to “clarify and identify causative compounds,” but the authors of
the Guidelines warned that, “The dosage must be considered in interpreting the findings
and attempting extrapolation to the range of human exposures indoors.” To date, there
exist no such studies.

In a more recent report, the German Society of Hygiene, Environmental Medicine and
Preventive Medicine reached similar conclusions (Hurras et al 2017).




                                                                                       Page 24




      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 68 of 91 PAGEID #: 2246




For all of these reasons, the notion that any mycotoxin effects arise from mold in homes
or from a limited period of driving in a car is erroneous. A small group of zealous
advocates, a few of whom are involved in this case, as well as the plaintiff, may believe
otherwise, but their views are scientifically-unsupported, out of the mainstream and not
generally-accepted.

Specific causation in an individual

Assuming that the general causation requirements can be met, which is not the case in
the Beckemeyer matter, specific causal elements would need to be evaluated and ruled
in or out.

The causation methodology used to establish specific causation, that is, causation in an
individual, is widely-accepted in the literature (Gots 1986, Gots 1993, Hackney 1979,
Evans 1976, Irey 1976, Schwartz 1995, Tarcher 1992, Marley 1991, Buffler 1995, Rom
1992, Black 1990, Black 1993, Sullivan 1992, NRC 1992, Brennan 1987, Guezalian
2005, Weiner et al, 2012). Other accepted methodologies differ in detail, but not in basic
principle. The elements of the causation methodology used to establish specific
causation include the following:

How was the diagnosis made?

Does the patient have a recognizable disease?

Are we dealing with symptoms alone or with objective disorders?

 Have other causes been properly considered and ruled out? Has the exposure been
confirmed?

Was the dosage sufficient considering the concentration and duration to produce the
condition(s)?

Was the clinical pattern what one would expect from that causal agent?

Were the temporal relationship and/or latency periods appropriate?

All of these questions and their answers are highly individual and must be addressed
symptom (or disorder) by symptom (or disorder).


                                                                                       Page 25




      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 69 of 91 PAGEID #: 2247




The discussion of those causal elements in this case will follow.

Specific Causation in This Matter

None of the specific causation requirements are met in this case, as the detailed review
above demonstrates. In fact, all of them are specifically refuted.

How was the diagnosis made? And

Does the patient have a recognizable disease?

The primary diagnoses in this case made by standard practitioners were recognized
respiratory disorders—allergies and infections. Others were major anxiety disorders. The
subsequent diagnoses, and the subject of this claim, CIRS, are not recognized diseases,
but the creation of non-traditional practitioners and neither scientifically-known nor
generally-accepted.

Are we dealing with symptoms alone or with objective disorders?

For some of Ms. Beckemeyer’s symptom complaints, specific clinical findings are
apparent in the records. These exclusively involve the respiratory tract. She allegedly
has certain laboratory abnormalities, according to several of her non-mainstream
practitioners. Those will be discussed later.

Have other causes been properly considered and ruled out? Has the exposure been
confirmed?

There was no exposure to mold in this car. All levels were low and/or typical everyday
background levels. There was also no wetness established. Thus, no exposure has been
confirmed.

Other causes of her symptoms and findings have been identified including allergies,
infections, major anxiety and depressive disorders. She is also clearly persistently
anxious which explains many of her symptoms.

Was the dosage sufficient considering the concentration and duration to produce the
condition(s)?



                                                                                       Page 26




      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 70 of 91 PAGEID #: 2248




As a board certified toxicologist, I can unequivocally state that there were no
toxicological agents in this car capable of producing acute or chronic illnesses.

Was the clinical pattern what one would expect from that causal agent?

Ms. Beckemeyer’s clinical pattern of symptoms, objective findings and response to
treatment supported the allergic and infectious conditions diagnosed by her standard
practitioners. This pattern is not consistent with the car having been the cause.

That some mold-related or other unspecified “toxin” related to the car was causal of this
claimant’s made-up “condition,” CIRS, is completely unsupportable. This condition has
no specific clinical pattern, no objective findings or standard clinical testing; it has a
variable array of wide-ranging, subjective symptoms which can occur in virtually any
organ system in a pattern defined solely by the patient herself.

Were the temporal relationship and/or latency periods appropriate?

The timing of symptoms and the location of their occurrences also speaks clearly against
the car as responsible. While Ms. Beckemeyer later claimed that she was sick from the
moment she got the car, contemporaneous medical records do not support that. She had
acute infectious respiratory conditions for short periods during her three months with the
car. She also had allergic symptoms which were ascribed to non-car associated
exposures. She later, after disposing of the car, developed most of her symptoms which
persisted and, in some instances, intensified. Thus, there is a clear temporal disconnect
between the car and her primary complaints.

Very importantly, she had longstanding prior sinus and respiratory disorders as well as
major anxiety disorders. Responsible for many of her symptoms, these long predated the
car issue.

The bottom line of this causation analysis is that there is clear evidence against specific
causation. The car played no role, except a perceived one, in Ms. Beckemeyer’s
illnesses or symptoms.




                                                                                       Page 27




      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 71 of 91 PAGEID #: 2249




The role of perceptions of hazards in symptom development and reporting. An
alternate specific causal factor

An important specific causal factor in many exposure matters relates to fear or worry by
the individual. Symptoms are frequently over reported when people believe their health
has been threatened. A review of the scientific literature regarding self-reported
symptoms indicates that these can be unreliable when perceived hazards exist as a
basis for confirming health problems. Over the years, numerous authors have studied
and reported upon the unreliability of self-reported symptoms, particularly following
perceived toxic exposures. (Gots et al, 1992, Hopwood et al, 1988, Lees-Haley et al,
1992, Kaye et al, 1994, Lipscomb et al, 1991, Lipscomb et al, 1992, Logue et al, 1986,
Pennebaker et al, 1994, Roht et al, 1985). The most important reason is the well-known
phenomenon of reporting bias. (Lipscomb et al, 1991, Logue et al, 1986, Pennebaker, et
al, 1994, Last et al, 1992, Hennekens et al, 1987, Pennebaker et al, 1983) Reporting
bias, a standard epidemiological term, is not a pejorative as it is in common usage.
Rather, it reflects the normal human tendency to connect physical phenomena with
unrelated causes, particularly when the perceived cause is viewed as a health threat.
Extensive media coverage of hazards (such as waste sites, chemical spills, or nuclear
accidents) affects perception of risk. (Aakko 2004) The “hazard du jour” phenomenon
begins with media reports of a link between a health effect and a consumer product or
environmental factor. (Kabat 2008). Mold and mold toxins is one of those current
popularly perceived hazards.

Studies of health complaints of residents living near waste sites have explored the
relationship between alleged low level chemical exposures and verification of the actual
diseases. These have reported negative results in most instances. (Dunne et al, 1990,
Naker et al, 1988, Hertzman et al, 1987, Janerich et al, 1981) When questioned,
individuals living near a waste site almost always produced more complaints than
individuals living in an area without such a waste site. Individuals concerned about the
quality of indoor or workplace air tend to report a wide range of health complaints.
These increased complaints, unassociated with verified, actual disease, emphasize the
intensity of the belief about a toxic risk held by the reporting individuals. When
individuals perceive a risk from something over which they have little or no control they
experience a higher level of threat and fear. (Dunne et al, 1990, Baker et al, 1988).



                                                                                       Page 28




      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 72 of 91 PAGEID #: 2250




One study illustrates quite clearly the unreliability of self-reporting. It involved a New
Jersey community whose water supply was reported to be contaminated. When
“unexposed” and “exposed” populations in Somerset, New Jersey, were questioned, the

symptom responses of the group that believed it was exposed were substantially higher
than that of the group residing in another part of New Jersey. Evidence obtained after the
study revealed that the “exposed” group actually had not been exposed. Their water
was not found to be contaminated, although they had believed it was. Clearly the
symptom reporting on the part of these residents was directly related to the perception
that exposure had occurred (NJDOH 1983). Numerous other studies in the published
literature have reported precisely the same findings (Pennebaker 1994). When
perceptions of hazards increase, symptom reporting increases, whether or not hazards
actually exist.

At times, physicians can play a role in initiating and maintaining patients’ symptoms and
illness beliefs. Kellner (1990) made the observation that “in many somaticizing and
hypochondriacal patients, iatrogenic (physician-induced) reinforcement played a part,” in
encouraging and maintaining the patients’ symptoms or believed illnesses. It has been
pointed out that with the increased awareness of chemicals in the environment and
media attention to indoor and outdoor air issues, as well as to the hazards of chemicals,
there is a greater tendency for psychological factors to aggravate, and even cause, a
multiplicity of symptoms. Physicians, too, share the public’s awareness about chemicals
and are exposed to the same media information about alleged hazards. Even when
physical findings are few or absent, physicians, at times, will diagnose illness and
attribute it to the exposure reported by the patient. By misattributing symptoms to a
cause or diagnosis of questionable validity, a physician can encourage and reinforce a
patient’s symptoms and belief in illness.

Nontraditional practitioners and an even larger number of physicians and health care
providers, who share some of their beliefs and practices, routinely diagnose
environmental illnesses. Black (1996) published a paper entitled Iatrogenic [sic
physician-caused] Multiple Chemical Sensitivities, in which he described this
phenomenon. He noted that iatrogenic reinforcement can play a critical role in initiating
and maintaining illness belief. In the case of mold and mold toxins, I have mentioned the
role that Dr. Shoemaker and his followers have played. Dr. Shoemaker will be discussed
below in more detail.

                                                                                       Page 29




      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 73 of 91 PAGEID #: 2251




Finally, it is important to determine whether symptoms are the result of an emotional
response to a perceived chemical toxicity or to an abnormal physiological interaction
between chemical agents and organ systems. It is not possible from symptoms alone to
tell which is the case, since either source can produce identical symptoms (Gots 1996).
The recognition of the origin of complaints, acknowledgement of reporting bias in
patients’ reporting of symptoms, as well as the public’s fear of environmental hazards, all
contribute to symptom reporting, as can true pathologic health effects produced by
environmental agents. Mood, feelings, stressors, fears and worries can all have
profound impacts upon symptom development and even disease. The need to identify
the primary or predominant causal factors of the symptoms, whether emotional or
organic, is essential. Making such a distinction is neither trivial nor unnecessary. A brain
tumor would not be treated with psychotropic drugs any more than stress-related
headache would be treated with neurosurgery, even though both cause headaches.
Both stage-fright and an abnormal electrical pathway in the heart can cause palpitations;
each is treated differently. The critical distinction between an organic (i.e., toxicogenic)
and psychogenic disorder is essential to make and can be made through proper testing
(Gots 1996).

The Role of Stress in Immunological parameters

Perceived exposure to a hazard is a stressor which, as noted, can and does produce
symptoms. It also can produce measurable immunological changes. In other words,
laboratory values are affected by stressors. Numerous studies over the years have
addressed this as they have studied the role of stressors in the production of a wide
variety of illnesses—susceptibility to infection, heart disease, cancers and many others.
One of the largest studies of this phenomenon, performed a meta-analysis of 300
scientific articles on this subject (Segerstrom et al 2006). Chronic stressors (specifically,
unemployment was one) had the most marked effect on measured immunologic
parameters. Ms. Beckemeyer was unemployed and was told she was poisoned; she
reported to Dr. Shatz her fear about her future employability. Those are clearly significant
stressors. In addition to Segerstrom, others have discussed the mechanism by which
stress affects immunological parameters. Among them is an article entitled
Psychoimmunology examined (Thornton et al 2006). There is, in fact, an entire field of
study known as “Psychoimmunology.”



                                                                                        Page 30




       93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 74 of 91 PAGEID #: 2252




CLAIMANT’S EXPERTS’ UNCONVENTIONAL CAUSAL THEORIES IN THIS MATTER

A number of medical “experts” are supporting Ms. Beckemeyer’s beliefs in this matter or
are mentioned. They are among a relatively small number of practitioners, outside the
mainstream, whose diagnoses, attributions and treatments are neither generally
accepted, nor scientifically supportable. In this case, they include Drs. Cleveland,
Blatman, Pretorius, Huber, McMahon and Shoemaker. They have diagnosed SIRS or
CIRS or toxic mold exposure or biotoxin illness. SIRS is actually a condition referring to
terminally ill patients, most often in ICU, who have multi-system failure. CIRS is a
diagnosis made up by Dr. Shoemaker and adopted by Dr. McMahon, but not generally
accepted. They believe that CIRS is a “biotoxic” illness.

To elucidate where this term “biotoxic illness,” “toxic mold exposure” and CIRS come
from, I shall discuss two of the involved physicians—Drs. McMahon and Shoemaker—
who are central players in this non-accepted disorder.

The claimant’s expert, Dr. McMahon, is relying upon several “evidentiary” approaches to
support his causal allegation. All are wrong and defy accepted medical and toxicological
reasoning.

The first is the general causation belief which I have discussed above. That is, that
mycotoxins or other factors coming from indoor environmental air are capable of leading
to the manifestations alleged and the strange self-named, unrecognized diseases CIRS.
That is untrue, has never been shown scientifically and is not generally-accepted. The
US CDC in its current online report agrees (http://www.cdc.gov/mold/stachy), as do all of
the other consensus groups mentioned above.

The second is that the exposure and consequent dose of such toxins allegedly received
by Ms. Beckemeyer of mycotoxins or anything else was sufficient to cause the
complaints. To “establish” this, the supporting practitioner is relying on several lines of
self-developed and self-serving “evidence.” The first is the unproven and likely untrue
assertion that “toxins” or other inflammation-inducing agents were present and in
sufficient quantities to exert effects. The second, is that those mold toxins, if mold toxins
are at issue, came from the air of the car interior. The third is that the complained of
disorders are consistent with toxicity associated with indoor environments. Finally, the
fourth is that various odd laboratory tests which he orders, supports his diagnosis and his
causal attribution.
                                                                                        Page 31




       93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 75 of 91 PAGEID #: 2253




If Ms. Beckemeyer were exposed to a mycotoxin, as she and some of her experts seem
to believe, and even if they were to enter the body, they are rapidly eliminated. Any
mycotoxins theoretically entering her body arising from the car would have been
essentially gone by December 2016. However, everyone has levels of mycotoxins in
their bodies, arising from dietary sources

Like all other foreign substances, such as medications and most other toxins, mycotoxins
are broken down and eliminated by the body. Mycotoxins are metabolized in the liver
and excreted by the kidney in short order. Numerous scientific studies have examined
the time that it takes for mycotoxins to be eliminated. In toxicology and
pharmacologically, this rate of elimination is generally called “half-life.” This is the time
that is required for one half of the absorbed dose to be eliminated. For the most part, the
half-lives of studied mycotoxins occur in minutes to a few hours. Thus, they do not
persist for weeks, months or years after exposure cease and, as a result, are not,
capable of producing increasing or persistent symptoms or causing new symptoms to
arise.

The presence of toxin-producing molds and of mycotoxins or any other “toxic substance”
in the car at issue has not been shown. There were no measurements performed.
Furthermore, the total mold levels found in the car which is the subject of this case, were
not unusually high or indicative of significant water intrusion and active mold growth.
They were common everyday exposure levels. Even if the mold spores found were full of
mycotoxins, thousands of times more than the largest amount found would have to have
entered the body to produce toxicity. As recent studies have shown, airborne mold or
mold toxins do not contribute to internal levels of mold toxins. Those come from dietary
sources (Follman et al, 2016, Jezak et al, 2016).

Dr. McMahon and a couple of Ms. Beckemeyer’s treating physicians are basically
followers of a Maryland physician, Ritchie Shoemaker, who popularized, among a fringe
medical group, the diagnoses and testing which they follow. The fact is that these
individuals belong to a small cadre of alternative practitioners who have promoted false
notions about indoor environments and all manners of adverse health consequences
associated with them. Their beliefs and practices are neither generally-accepted nor
scientifically-known.



                                                                                        Page 32




       93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 76 of 91 PAGEID #: 2254




Dr. Shoemaker’s practices came under fire by the Maryland Board of Medical Examiners
in 2013, when he was reprimanded and put on probation for failing to meet proper
standards of care. At that point, he discontinued his clinical practice. However, he now
purports to provide special certification to physicians who follow his diagnostic and
therapeutic methods.       Dr. McMahon, an expert in this case, and a pediatrician by
training, touts his mold certification by Shoemaker as his primary credential in this arena.
He adds to that the assertion that he has treated thousands of such patients, solidifying
his self-proclaimed expertise and diminishing that of anyone who does not have such
clinical experience. Medical history tells us that even large numbers of diagnostic and
treatment experiences do not necessarily imply knowledge or wisdom. No doubt the
colonial physician who bled George Washington would also have trumpeted his
experience with thousands of such treatments.

Drs. Cleveland and Blatman may not have been formal students of Dr. Shoemaker, but
they used his earlier diagnostic terminology of SIRS. They used the Shoemaker
“protocol” to treat it in Ms. Beckemeyer.

Since approximately 2008, Dr. Shoemaker has called his novel disorder Chronic
Inflammatory Response Syndrome (CIRS), a condition which is neither generally
accepted nor known to exist. Ms. Beckemeyer, Drs. Cleveland, Blatman and McMahon
use that term or a variation of it, SIRS. Dr. Shoemaker and his followers further claim
that this disorder results from exposure to a variety of “biotoxins” associated with
wet/damp indoor spaces. This theory is self-generated, unproven, based on poor
causation and scientific methodologies, and resides in questionable data. It is not
generally-accepted.

Dr. Shoemaker originally called the condition Sick Building Syndrome (SBS) and Chronic
Biotoxin-Associated Illness, before he renamed it “Chronic Inflammatory Response
Syndrome.” Initially, he attributed this entity to a mycotoxin cause. In 2002, he
consistently attributed symptoms to “toxin-forming species of fungi” and their mycotoxins.
In his book Mold Warriors (2005), Dr. Shoemaker wrote similarly about the cause of
illness in the cases he discussed. He highlighted water damage and mold growth and
that certain molds make toxins, “our studies show repeatedly: mold makes people sick.”
(p. 332-333). He has subsequently disavowed the role of mycotoxins, believing instead
that, “exposure to mycotoxins is a ‘relatively insignificant factor in the systemic
inflammatory response these people get’.” (See Deposition testimony in Anderson et al

                                                                                        Page 33




       93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 77 of 91 PAGEID #: 2255




vs. The Ritz Carlton Hotel Co. et al., DC Superior Court Civil Div. CA No. 05ca
(0001130).)

 Certain of the diagnostic tests performed on Ms. Beckemeyer, such as VCS, MSH, TGF,
and C4a, even the so-called HLA-genotype allegedly associated with environmental
exposure leading to symptoms and a dozen others are neither scientifically-known nor
accepted as showing what they are claimed to demonstrate. They are not described in
the recognized and accepted medical and scientific literature for this purpose. Many of
these tests have little clinical application at all, but are unique to certain specialized
research laboratories, or to either specific other disease states or to other illnesses.
These tests taken together are not delineated in textbooks or published as part of
evidence-based clinical guidelines used by the general medical community. They are the
sole province of this fringe medical group who call themselves “environmental
physicians,” or, now, “certified mold physicians.”

Like the changes in name and causes of his novel illness, Dr. Shoemaker’s diagnostic
tests and the parameters measured by them have changed, as well. He admitted in
testimony that, “the normal set of labs that I use also evolves over time. If you look at
what I did in 2003, it contains many of the same elements I use in 2008. Some have
come and gone out of that list from 2003, other new ones have come and gone and
other new ones have come and stayed.” (Testimony in Anderson et al., 22 May 2008, p.
28, l. 20-25). His diagnostic tests, then, are a moving target: there is no way that they
could constitute a reliable, validated test battery which has become generally-accepted.
With both the parameters being tested and the tests themselves changing or “evolving,”
it is little wonder that the information upon which he and his followers base their
conclusions is not found in journals that are generally available to and accepted by the
medical community. They are, rather, their personal, idiosyncratic characterizations and
creations, neither reliable nor validated for the purpose for which they are employed.

Many of the tests are discussed in Dr. Shoemaker’s articles describing his “studies” and
theoretical “mechanisms” for his personally-defined diseases of “sick building syndrome”
and “chronic biotoxin-associated illness from exposure to water-damaged buildings.”
Those were published in Neurotoxicology and Teratology (Shoemaker et al, 2005;
Shoemaker et al, 2006). He has recently published another article dealing with
“neuroquant testing” in that same journal (Shoemaker et al, 2014). Dr. Shoemaker has
asserted that all articles were peer-reviewed. There is, however, no evidence that these

                                                                                       Page 34




      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 78 of 91 PAGEID #: 2256




articles are peer reviewed or, if they are, that they are reviewed with serious rigor. Dr.
McMahon, has recently published related articles in a journal called Medical Research
Archives: a journal with an impact factor of about 1, meaning that it is rarely read or
cited.

The journals in which these studies were published, Neurotoxicology and Teratology,
and Medical Research Archives are not among those journals listed by the International
Committee of Medical Journal Editors (ICMJE) as following its “Uniform Requirements of
Manuscripts Submitted to Biomedical Journals.” Journals which have agreed to follow its
peer-review standards, as well as the other requirements delineated, are listed by the
ICMJE. There are at least 1000 of those, but the two noted above are not included.

I serve as a peer reviewer of a standard, recognized journal. Having read Dr.
Shoemaker’s and Dr. McMahon’s papers, I can state that they would not pass generally-
accepted requirements of a peer-reviewed journal.

In assessing whether a physician or scientist used reliable scientific methodology to
reach his conclusions, it also is important to examine the known or potential rate of error
of a particular theory. For example, if a scientist placed various qualifications on his
conclusions, then the known rate of error is potentially very high. The rate of error
cannot even be assessed for a theory that has not been tested. Dr. Shoemaker’s and
Dr. McMahon’s theories remain in the unreplicated, unreliable category. Their alleged
scientific methodology in reaching their conclusions about this “CIRS” condition have,
therefore, not been shown.

Another important factor in assessing the scientific reliability of a theory is whether the
theory has gained widespread acceptance among scientists in that particular field.
General acceptance indicates that other scientists agree that a theory is based upon
reliable scientific methodology, has been replicated and has scientific validity. If, over
time, a scientist’s opinion has gained little or no support within a particular field of
science, it is appropriate to question whether the opinion is supported by reliable
scientific methodology. The term CIRS as a disease entity has been used by Dr.
Shoemaker since at least 2008. Dr. McMahon says that the condition was first described
in 1997 (McMahon 2017). Since it is, according to them, a widespread immunological
disorder (Dr. McMahon now claims 7% of people have CIRS), one would think that if it
were proven, by now it would be widely-accepted. It is not. It is not recognized, for
example, by the American Association of Allergy Asthma and Immunology, the major
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      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 79 of 91 PAGEID #: 2257




immunology body in this country. It also has no ICD-10 number, that is, no number in the
International Classification of Diseases, version 10. Dr. McMahon dismisses this,
suggesting that such numbers are only for “insurance purposes.” Actually, the disease
classification numbers are established by the World Health Organization to provide
uniform nomenclature for study purposes, so that physicians and scientists worldwide
are speaking about the same entity when they do studies. There is no ICD-10 number for
CIRS.

Thus, the notion that there exists a “biotoxic illness” or “SIRS/CIRS” due to the inhalation
of mold toxins and other things in the indoor environment is not one which is generally-
accepted or scientific knowledge in the medical community. The current state-of-the
science is discussed by organizations noted earlier, including the US CDC
(http://www.cdc.gov/mold/stachy)

Dr. McMahon, an expert in this matter, claims proudly to be a disciple of Dr. Ritchie
Shoemaker. He diagnoses the Shoemaker disease, now named Chronic Inflammatory
Response Syndrome (CIRS), which he believes arises from indoor exposures and
attacks every organ in the body. He diagnoses this disease through a set of thirty or
more disconnected symptoms and a bizarre array of laboratory tests only performed in
this combination by Dr. Shoemaker’s zealous followers. This disorder of Dr.
Shoemaker’s is trumpeted in papers that he has written, most published in obscure, non-
mainstream journals or conference proceedings. At this point, approximately eight of his
papers have been in the literature for at least ten or more years old, yet his revolutionary
revelation has never found its way into mainstream medical or scientific journals.

It has also never made it into any of the most authoritative consensus documents, such
as the World Health Organization (WHO) and the Institute of Medicine, National
Academy of Sciences (IOM/NAS) publications on wet damp indoor spaces. Although
many of Dr. Shoemaker’s papers were available by the time the WHO document was
published, there are no references within it to Shoemaker or to this “CIRS disease.” Dr.
McMahon cites extensively from the WHO document and from another, the Government
Accountability Office (GAO) document of 2008, which he claims supports him and Dr.
Shoemaker. However, neither document mentions any of Dr. Shoemaker’s
“groundbreaking research,” cites any of his papers, or contains any discussion
whatsoever of this disease “CIRS,” which is the centerpiece of Dr. McMahon’s long
report in the Beckemeyer matter. Dr. McMahon’s notions, methodologies and diagnosis,

                                                                                        Page 36




       93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 80 of 91 PAGEID #: 2258




a clone of the Shoemaker beliefs, are neither generally-accepted, nor scientific
knowledge, nor reliable.

Dr. McMahon’s report employs all of the well-recognized rhetorical flourishes of the self-
promoter in any area of endeavor. It touts his and Dr. Shoemaker’s thousands of patients
experience, denounces his enemies as ”naysayers” and ill-informed troglodytes who are
in the pocket of special interests and uses all manners of tangential “evidence” to
support his position. Boasting of thousands of patients is the technique of the practitioner
who is trying hard to convince the world of his miraculous breakthrough. If his notions
were generally-accepted, however, would that be necessary? One would not expect a
diabetologist to crow about his 3000 diabetic patients or a cardiologist to brag about the
5000 patients he has treated with Lipitor. Considering the potential number of wet/damp
buildings, homes and cars and the frequency of the genetic susceptibility that Dr.
McMahon claims, hundreds of thousands of people should be suffering from this
devastating and debilitating chronic disease and the medical community should have
long recognized this critically important new disorder. If innumerable individuals like Ms.
Beckemeyer were falling victim to illnesses from this CIRS, the medical community at
large would have embraced, or at least considered, that possibility. Are all conspiring
with homeowner’s or auto insurers or landlords? Dr. Shoemaker has been pushing his
belief and writing about it for nearly twenty years. The simple and obvious answer is that
Drs. Shoemaker’s and McMahon’s “disorder” and its so-called confirmatory diagnostic
testing are scientifically bereft.

Nowhere in the GAO report which Dr. McMahon cites does it say that we now know of an
inflammatory disease described by Dr. Ritchie Shoemaker known as “CIRS” or “biotoxin
illness” or “mold illness” or any other, which produces widespread injury because of a
chronically over-reactive innate immune system. In fact, that 61 page document which
Dr. McMahon relies upon extensively contains not one mention of CIRS, of him or of Dr.
Shoemaker.

The WHO report discusses many possible mechanisms which might account for
symptoms associated with exposures to WDB’s. Within this hypothesized group are
included possible immunological mechanisms and inflammatory mechanisms. Dr.
McMahon and Dr. Shoemaker, have elevated these preliminary considerations by
proclaiming them established fact and claiming that this validates their idiosyncratic
“disease” “CIRS.” In fact, WHO considers many possible toxicological mechanisms

                                                                                        Page 37




       93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 81 of 91 PAGEID #: 2259




including: Immunostimulation and Immunoglobulin E-mediated allergies; Cytotoxicity
and Immunosuppression; Autoimmunity; and Irritation (pp84-89). These postulated
mechanisms underlie current theories and animal research, but are far from accepted,
established answers to the human health effect questions. In the summary of that
section, the WHO report says: “The mechanism by which non-infectious microbial
exposures contribute to adverse health effects associated with indoor air dampness and
mould are largely unknown.” (p 90)

By contrast, Dr. McMahon would have us believe that the mechanism is clear and
resolved. It is his disease “CIRS,” which explains it all, yet that term was not mentioned
once in the WHO report. Thus, Dr. McMahon’s note that “‘immunologic aspects’ of
illnesses and symptoms associated with WDB are considered by WHO,” is true, but it is
not true to say that they were “emphasized” to the point of being definitive, as Dr.
McMahon has suggested. Furthermore, “immunologic mechanisms” is a very broad
category. Suggesting that such a category is the equivalent of the Shoemaker/McMahon
unrecognized disease “CIRS” is highly misleading and flat out wrong.

Dr. McMahon claims that this disease, so-called “CIRS,” is an immunological disorder.
As noted earlier, it is not recognized by mainstream immunologists or the many thousand
members of the American Academy of Allergy Asthma and Immunology (AAAAI), the
official AMA recognized body of immunologists. Furthermore, one wonders why, if this
disorder is an immune system disease, Dr. McMahon doesn’t refer Ms. Beckemeyer to
an immunologist. He, after all, is a pediatrician.

A key to Dr. McMahon’s diagnosis of this CIRS is laboratory testing for a variety of
parameters which he claims, when taken together, establish the diagnosis. To optimize
the so-called “abnormals,” he creates his own normal values which, in some instances,
differ from those of the laboratories. When Dr. Shoemaker was challenged years ago
about his “normal” value for MSH which differed from the laboratory’s norm or reference
range, he asserted that the low end of their reference range was “skewed by all of his
patients’ ” abnormally low values. Dr. McMahon has done exactly the same thing in his
Beckemeyer report. The fact is that both major commercial laboratories, Quest and
LabCorp have an MSH reference range [range of normal values] that start at zero and, in
the case of LabCorp, range from 0-40 and, in the case of Quest, range from 0-100.
LabCorp is the lab Dr. McMahon used. He insists that the norm should be greater than
35; thus, Ms. Beckemeyer was abnormal at 5. In other words, he made up his own

                                                                                       Page 38




      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 82 of 91 PAGEID #: 2260




normal to fit his own case definition. According to both these laboratories, her MSH was
normal.

He did the same thing for the ADH determination which he says was abnormal at Ms
Beckemeyer’s level of 1. The laboratory which performed the test, LabCorp, reports its
normal as 0-4.7. Dr. McMahon says the normal range is 1.3-8 making Ms. Beckemeyer
abnormally low, according to him, but normal according to the testing laboratory.

Thus, at least two of these key tests that he relies upon were, according to him,
abnormal. His assertion is contradicted by the reference standards of the laboratory
which performed those tests and found them normal.

It is axiomatic in toxicology that the dose makes the poison. Dr. McMahon rejects this
bedrock toxicological axiom. The reason is that he never has any idea of the nature or
extent of his patients’ exposures. Thus, whatever the exposure, it was, according to him,
sufficient. So by Dr. McMahon’s logic, the mycotoxins in our daily diet would have to be
equally causal or, at least, could not be ruled out as the cause of the alleged disease in
these individuals like Ms. Beckemeyer. Dr. McMahon’s version of toxicology would
make commonly-used Botox an invariably lethal substance since, in its undiluted form,
botulinum toxin is an extremely potent and lethal agent.

In order to avoid evaluation and criticism of his CIRS disorder by toxicologists, Dr.
McMahon claims, in his report, that it is not a toxicological disease, but an immunological
one. However, in a paper which he wrote in 2017 and references in this report, he
says:“In all patients (sic, CIRS patients) environmental exposures to biologically-
produced toxins trigger innate immune cytokine overproduction… “ In other words, he
says in this paper, as he and Dr. Shoemaker have said many times, that their claimed
“immune system disease” is the result of a toxic exposure.

In an attempt to enhance the respectability and acceptance of his “disease” “CIRS,” Dr.
McMahon claims that there exist 100,000 references on Systemic Inflammatory
Response Syndrome. That disorder (SIRS) is indeed coded in the ICD-9 and ICD-10, as
he notes. However, SIRS has nothing to do with his CIRS. SIRS is a code reserved for
severe multiorgan-system disease and is used predominantly in patients in ICUs or
trauma centers.



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      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 83 of 91 PAGEID #: 2261




Dr. McMahon quotes the “Policyholders of America‘s Research Committee Report on
Diagnosis and Treatment of Chronic Inflammatory Response Syndrome caused by
exposure to the interior environment of water-damaged buildings (2010),” as the most
comprehensive paper on biotoxin-related illness to date. He claims that it shows that the
world’s academic community recognizes this disease. It does nothing of the kind. It is a
manifesto written by Drs. McMahon and Shoemaker, espousing the same positions
promulgated in this report regarding Ms. Beckemeyer. The site “Policyholders of
America” is devoted to “mold sufferers” and their supportive physicians. There is nothing
academic about it.

Dr. McMahon, and Dr. Shoemaker before him, treat their “CIRS” patients with
cholestyramine (CSM) and Welchol, drugs which are marketed to reduce cholesterol
levels, but have largely been replaced by more effective agents such as statins. They
use these allegedly to bind mycotoxins in the GI tract, but how supposedly-inhaled
mycotoxins get to the GI tract awaiting binding by these drugs is unclear to me and to
other toxicologists. Furthermore, Dr. McMahon makes a major issue about why ingested
mycotoxins pose little risk because they are digested, broken down and rendered
inactive in the GI tract. If that is so, why would he need to remove them with CSM or
Welchol? Additionally, he states that mycotoxins are not the primary issue, but only one
of many.

Despite that, he claims that his patients improve after being treated with this agent which
allegedly eliminates mycotoxins. Lastly, as I pointed out earlier, any theoretically-present
mycotoxins from the car at issue would have been long gone from the body by the time
Ms. Beckemeyer received the agents in early 2017. The inconsistencies between the
alleged efficacy of CSM and Welchol and Dr. McMahon’s various theories are enormous
and irreconcilable.

For all of the above reasons, Dr. McMahon’s opinion in this case is far outside the
mainstream of medicine. It is not generally-accepted and is scientifically unreliable.




                                                                                        Page 40




       93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 84 of 91 PAGEID #: 2262




CONCLUSIONS



Nothing in these records—medical or environmental testing—indicates a problem with
this car or a disorder in Ms. Beckemeyer having anything to do with her car. Her ailments
and symptoms have clear alternate explanations. There was no temporal connection
between those and her use of the car. There was no in-car exposure to the alleged
causal agents. Her primary experts have used unconventional, unaccepted
methodologies and diagnoses to assert, incorrectly, a causal relationship. These
opinions are expressed with scientific and toxicological certainty.




Ronald E Gots, MD, PhD, DABT                       December 1, 2018




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      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 85 of 91 PAGEID #: 2263




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      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 86 of 91 PAGEID #: 2264




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      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 87 of 91 PAGEID #: 2265




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      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 88 of 91 PAGEID #: 2266




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       93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 89 of 91 PAGEID #: 2267




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      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 90 of 91 PAGEID #: 2268




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      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
Case: 1:17-cv-00695-MRB Doc #: 65-2 Filed: 05/20/19 Page: 91 of 91 PAGEID #: 2269




                                                                                       Page 48




      93 SW Palm Cove Drive   Palm City, Florida 34990-4318   Telephone 301-466-9858
